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                            No. 22-1864
                                In the


United States Court of Appeals
              For the Third Circuit
                          _______________

            Consumer Financial Protection Bureau,
                                              Plaintiff-Appellee,
                                  v.

     National Collegiate Master Student Loan Trust, et al.,
                                              Defendants-Appellants.
                          _______________
       On Appeal from the United States District Court
      for the District of Delaware, Case No. 1:17-cv-1323
                  Honorable Stephanos Bibas
                          __________________

             JOINT BRIEF FOR APPELLANTS
                          __________________

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            CORPORATE DISCLOSURE STATEMENTS

     Defendant-Appellants National Collegiate Master Student Loan

Trust, The National Collegiate Student Loan Trust 2003-1, The National

Collegiate Student Loan Trust 2004-1, The National Collegiate Student

Loan Trust 2004-2, The National Collegiate Student Loan Trust 2005-1,

The National Collegiate Student Loan Trust 2005-2, The National

Collegiate Student Loan Trust 2005-3 The National Collegiate Student

Loan Trust 2006-1, The National Collegiate Student Loan Trust 2006-2,

The National Collegiate Student Loan Trust 2006-3, The National

Collegiate Student Loan Trust 2006-4, The National Collegiate Student

Loan Trust 2007-1, The National Collegiate Student Loan Trust 2007-2,

The National Collegiate Student Loan Trust 2007-3, and The National

Collegiate Student Loan Trust 2007-4 each certify pursuant to Fed. R.

App. P. 26.1 and L.A.R. 26.1.1 that it is not a publicly traded corporation

and is not owned by a parent company.

     Intervenor-Appellant Ambac Assurance Corporation certifies

pursuant to Fed. R. App. P. 26.1 and L.A.R. 26.1, that it is a wholly owned

subsidiary of Ambac Financial Group, Inc., and that there are no other




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parent corporations or publicly held corporations that hold 10% or more

of its stock.

      Intervenor-Appellant Transworld Systems Inc. certifies pursuant

to Fed. R. App. P. 26.1 and L.A.R. 26.1.1 that it is a wholly owned

subsidiary of Aston Acquisition Corp. and that no publicly held

corporation holds 10% or more of its stock.


Dated: September 23, 2022                   /s/ Jonathan Y. Ellis
                                            Jonathan Y. Ellis




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                           INTRODUCTION

     Under the Consumer Financial Protection Act (CFPA), the

Consumer Financial Protection Bureau (CFPB) has authority to prevent

certain entities (“covered persons”) that “engage[]” in the offering of

consumer financial products or services from committing unfair,

deceptive, or abusive acts or practices (UDAAP). 12 U.S.C. §§ 5531(a),

5536(a)(1)(B).   The CFPB’s complaint in this case targets allegedly

unlawful conduct by loan servicers collecting on defaulted student-loan

debt. But the complaint asserts no claims against those loan servicers,

nor even the entities that engaged them.

     Instead, the defendants are 15 statutory trusts formed to purchase,

pool, and securitize student-loan debt.          The Trusts are passive

securitization vehicles. They have no employees and no directors. They

cannot and do not act for themselves. They have no right or ability to

control the conduct of the loan servicers. They are not, in any ordinary

sense, “engage[d]” in offering any consumer financial service and

therefore are not subject to the CFPB’s UDAAP authority.

     The district court initially appeared to agree. In considering the

CFPB’s first complaint, Judge Noreika expressed “doubt” that the Trusts



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were “covered persons” under the CFPA. She stopped short of a holding

to that effect, however, dismissing the complaint instead based a second

fundamental flaw in the CFPB’s action. When the CFPB sued the Trusts

in 2017, Director Richard Cordray headed the agency. As the Supreme

Court held in Seila Law LLC v. CFPB, 140 S. Ct. 2183 (2020), Director

Cordray’s    insulation   from    presidential     removal     violated    the

Constitution’s separation of powers. And although the CFPB attempted

to ratify this action post-Seila Law, the ratification was ineffective

because it came after the three-year statute of limitations had run.

Relying on established precedent from this Court and others, Judge

Noreika dismissed the first complaint on that ground.

     After the CFPB filed an amended complaint, the case was

reassigned to Judge Bibas, sitting by designation. Although nothing in

the amended complaint meaningfully addressed either of Judge

Noreika’s concerns, Judge Bibas refused to dismiss it, holding that the

Trusts were “covered persons” under the statute, and that, in light of the

Supreme Court’s decision in Collins v. Yellen, 141 S. Ct. 1761 (2021), the

constitutional violation recognized in Seila Law warranted no

retrospective relief for the Trusts.



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      Each holding is wrong and warrants reversal. The district court’s

statutory holding rests entirely on an overbroad definition of the word

“engage,” at odds with the word’s ordinary meaning, the statute’s

carefully circumscribed structure, its place in the broader statutory

scheme, and its statutory history. Congress knows how to grant an

agency broad authority to regulate actors involved in consumer

transactions. But it took a targeted approach to the CFPB’s UDAAP

authority, granting that authority over only a carefully defined group of

actors—those actually engaged in the offering of certain consumer

financial services (“covered persons”) and certain affiliated entities

(“service providers,” “affiliates,” and “related persons”). The Trusts do

not fit into the former category, and the CFPB has never even alleged

they fit into the latter.

      The district court’s constitutional holding relies on a similarly

overbroad reading of the Supreme Court’s decision in Collins. Unlike

Seila Law, Collins did not concern the CFPB or an enforcement action.

It involved an attempt by private investors in Fannie Mae and Freddie

Mac to obtain a windfall by vacating agency action intended to address a

national crisis. In rejecting that gambit, the Supreme Court did not



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purport to overrule or abrogate well-established precedent concerning

the appropriate remedy for a separation-of-powers violation in the

enforcement context. The district court erred in finding otherwise.

     Importantly, reversal threatens neither the CFPB itself nor the

ability to police UDAAP violations like those alleged here. The Trusts

are not seeking to dismantle the agency, and they have never disputed

that the statute reaches somebody. (Indeed, the CFPB already settled

with one loan servicer based on allegations in this very case.) And the

relief sought by the Trusts is no broader than what Judge Noreika

already granted or strongly suggested was available.           Judge Bibas’

contrary holdings were error. The district court’s judgment should be

reversed.

                  STATEMENT OF JURISDICTION

     The district court has jurisdiction under 28 U.S.C. §§ 1331 and 1345

and 12 U.S.C. § 5565(a)(1).     The court denied Appellants’ motion to

dismiss on December 13, 2021, JA1-10, and certified its order for

interlocutory appeal on February 11, 2022, JA11-20. Appellants filed a

timely petition for permission to appeal under 28 U.S.C. § 1292(b) on




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February 21, 2022, which this Court granted. JA21-22. This Court has

jurisdiction under 28 U.S.C. § 1292(b).

                   STATEMENT OF THE ISSUES

     1.    Whether, under the Consumer Financial Protection Act, the

Defendant Trusts are “covered persons,” against which the Consumer

Financial Protection Bureau may pursue a UDAAP claim.

     2.    Whether the district court erred in refusing to dismiss this

enforcement action initiated by the Bureau while its Director was

insulated from presidential removal in violation of the constitutional

separation of powers.

    STATEMENT OF RELATED CASES AND PROCEEDINGS

     This case has not been before this Court. The related cases or

proceedings of which Appellants are aware are:

      CFPB v. NCMSLT, No. 17-cv-1323 (D. Del.);

      CFPB v. NCMSLT, No. 19-mc-67 (D. Del.);

      CFPB v. NCMSLT, No. 19-mc-108 (D. Del.); and

      DiCello Levitt & Casey LLC v. Objecting Minority Noteholders,
       No. 19-cv-352 (D. Del.).




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                       STATEMENT OF THE CASE

     A.    Legal Background

     The CFPA was enacted in 2010 as part of the statute commonly

referred to as Dodd-Frank. See Pub. L. 111-203, 124 Stat. 1376 (July 21,

2010). The Act created the CFPB, an agency tasked with, among other

things, regulating the offering and provision of consumer financial

products and services under federal consumer protection laws. See Seila

Law, 140 S. Ct. at 2192.       Congress entrusted the administration of

certain existing federal statutes to the newly created CFPB. See id. at

2193. It also created a prohibition against “any unfair, deceptive, or

abusive act or practice” committed by certain financial persons and

institutions (“covered person[s]” or “service provider[s]”).        12 U.S.C.

§ 5536(a)(1)(B). And it authorized the CFPB to take action to prevent

those entities from committing such acts or practices “in connection with”

offering consumer financial products or services. 12 U.S.C. § 5531(a).

     This was a new law, but not a new concept. The Federal Trade

Commission Act (FTCA), for one, had long prohibited “unfair or deceptive

acts or practices in or affecting commerce.” 15 U.S.C. § 45(a)(1). And,

the Fair Debt Collection Practices Act (FDCPA) had similarly banned the



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use of “unfair or unconscionable means to collect or attempt to collect any

debt.” 15 U.S.C. § 1692f.

      In targeting unfair practices, Congress has traditionally taken one

of two tacks. Some statutes, like the FTCA, reach a broad swath of actors,

subject to limited and enumerated exemptions.              The Federal Trade

Commission (FTC) is “empowered and directed” to police all “persons,

partnerships,    or    corporations,   except     banks,   savings    and    loan

institutions[,] . . . credit unions[,] common carriers[,] air carriers and

foreign air carriers,” and those “subject to the Packers and Stockyards

Act.” 15 U.S.C. § 45 (emphasis added). Other statutes, like the FDCPA,

take the inverse approach, targeting only a carefully defined group—e.g.,

“debt collector[s],” 15 U.S.C. § 1692f; see 15 U.S.C. § 1692a(6) (defining

“debt collector”).

      The CFPA takes the more targeted route. The CFPB’s powers

within its sphere of authority are broad; the CFPB may promulgate rules,

conduct investigations, initiate administrative adjudications, and

prosecute civil actions seeking a range of remedies.             See 12 U.S.C.

§§ 5562; 5564(a), (f); 5565(a), (c)(2); 12 C.F.R. § 1083.1(a).          But the

agency’s UDAAP authority extends only to a limited and defined set of



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actors (“covered person[s] or service provider[s]”) that participate in a

limited set of activities (namely, offering or providing “consumer

financial product[s] or service[s]”). 12 U.S.C. § 5531(a).

      Under the CFPA, a “covered person” is “any person that engages in

offering or providing a consumer financial product or service” and “any

affiliate of [such] a person . . . if such affiliate acts as a service provider

to such [covered] person.” 12 U.S.C. § 5481(6); see 12 U.S.C. § 5481(26)

(deeming certain “related persons” to also be “covered persons”). And a

“service provider” is “any person that provides a material service to a

covered person in connection with the offering or provision by such

covered person of a consumer financial product or service.” 12 U.S.C.

§ 5481(26).

      The CFPA further defines a “financial product or service,” 12 U.S.C.

§ 5481(15), to include “extending credit and servicing loans, including

acquiring, purchasing, selling, brokering, or other extensions of credit”

and “collecting debt related to any consumer financial product or service”

for consumers’ “personal family or household purposes.”               12 U.S.C.

§§ 5481(5), (15)(A)(i).




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     From its inception, the CFPB’s single Director was “appointed by

the President with the advice and consent of the Senate . . . for a term of

five years, during which the President may remove the Director from

office only for ‘inefficiency, neglect of duty, or malfeasance in office.’”

Seila Law, 140 S. Ct. at 2193 (quoting 12 U.S.C. § 5491(c)(1), (3)). In

2020, the Supreme Court held that these restrictions on the President’s

removal authority violated the constitutional separation of powers. Id.

at 2197. The Court further held that the removal provision was severable

from the remainder of the Act, permitting the CFPB to continue to

operate with a Director removable by the President at will. Id. at 2211.

As to the “appropriate remedy,” the Court remanded for lower courts “to

consider whether the civil investigative demand [at issue] was validly

ratified” and if so, whether ratification “is legally sufficient to cure the

constitutional defect.” Id. at 2208.

     B.    The Defendant Trusts

     The Defendants-Appellants Trusts are 15 passive securitization

vehicles formed between 2001 and 2007, prior to the enactment of the

CFPA. JA305; see generally In re Nat’l Collegiate Student Loan Trusts

2003-1, et al., 971 F.3d 433 (3d Cir. 2020) (In re NCSLTs). Creatures of



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Delaware statutory law, the Trusts were formed to acquire a pool of

private student loans, to issue securitized notes on those loans, and to

provide for the servicing of the loans and the distribution to noteholders

of the loan payments made by borrowers. See JA107 (Trust Agreement

§ 2.03(a)). The Trusts have no officers or employees; in plain terms, they

cannot do anything for themselves. See also 17 C.F.R. § 229.1101(c)(2)(ii)

(issuers of “asset-backed securities” are “limited to passively owning or

holding the pool of assets, issuing the asset-backed securities supported

or serviced by those assets, and other activities reasonably incidental

thereto”); Asset-Backed Securities, Final Rule, 70 Fed. Reg. 1506, 1511

(Jan. 7, 2005) (“[T]here is essentially no business or management . . . of

the issuing entity, which is designed to be a solely passive entity.”).

     Accordingly, the Trusts are managed only pursuant to a series of

governing agreements with various third parties. These include Trust

Agreements, Administration Agreements, Indenture Agreements, a

Special Servicing Agreement (SSA), and a Default Prevention and

Collection Services Agreement (DPCSA).1 See JA305-06.



1 The Amended Complaint specifically references and relies upon these

agreements. See JA387-91 (¶¶ 28, 30-33, 38-40, 45-50). This Court may


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     Among the primary agreements are the Trust Agreements, which

appoint an Owner Trustee. JA109 (Trust Agreement § 3.02(b)(i)).2 The

Owner Trustee has both the power and the duty to “act on behalf of the

Trust subject to direction by the Owners.” JA107 (Id. § 2.03(b)(i)). The

current Owner Trustee is Wilmington Trust Company. JA103.

     The Owner Trustee entered into two further types of primary

agreements. Under the Administration Agreements, the Owner Trustee

delegated certain powers to act on the Trusts’ behalf to an Administrator.

The Administrator must “perform, or cause to be performed, its duties

and obligations and the duties and obligations of the Owner Trustee on

behalf of the Issuer” with certain limitations. JA150 (Id. § 1(c)(i)). But

the Administrator is “not . . . subject to the supervision of the [Trusts] or

the Owner Trustee with respect to the manner in which it accomplishes

the performance of its obligations.” JA152 (Id. § 5).

     Under separate Indenture Agreements, the Owner Trustee then

granted “all rights, powers and options” of the Trusts to an Indenture


thus consider them at the dismissal stage as “document[s] integral to or
explicitly relied upon in the complaint.” In re Burlington Coat Factory
Sec. Litig., 114 F.3d 1410, 1426 (3d Cir. 1997) (citation omitted).
2 As relevant here, the governing agreements for each trust are
substantively identical.

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Trustee, including in connection with the securitized student loans.

JA230 (Indenture Agreement App. A (Definition of “Grant”)). In broad

terms, the Indenture Trustee has the right “generally to do and receiv[e]

anything that the [Trust] is or may be entitled to do or receive” when the

notes are outstanding. Id.; see JA180 (id. § 3.07(f)). U.S. Bank serves as

the Indenture Trustee for the Trusts. JA230.

      As this Court has noted, this process of securitizing private student

loans “works well when the students do not default on their loans.” In re

NCSLTs, 971 F.3d at 437. But regrettably, some student borrowers do

default. This was especially true in 2008 and 2009, during the financial

crisis.    Compounding this problem for the Trusts, a firm that had

guaranteed payment of the student loans underlying 12 of the 15 Trusts

declared bankruptcy in 2009. In connection with servicing defaulted

student loans, multiple parties entered into a Special Servicing

Agreement, appointing the initial Special Servicer, which was tasked

with collecting payments from past-due and defaulted borrowers, JA322-

55, and retaining U.S. Bank as the Backup Special Servicer, in case the

primary Special Servicer resigned or was removed. See In re NCSLTs,

971 F.3d at 440.



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     In 2012, the primary Special Servicer resigned, making U.S. Bank

the Successor Special Servicer. Id. In this role, U.S. Bank assumed “the

rights, duties and obligations of the Special Servicer” “to the extent

expressly required to be assumed and performed by the Back-Up Special

Servicer.” JA322-25, 328 (SSA §§ 2.B, 8.A). The SSA provides that, in

this capacity, U.S. Bank serves as an “independent contractor” not

“subject to the supervision of the Trusts.” JA336 (Id. § 17). By the SSA’s

own terms, moreover, nothing in that agreement “shall be construed to

impose any liability” on the Trusts, and the Successor Special Servicer

lacks “any express, implied or apparent authority to incur any obligation

or liability on behalf” of the Trusts. JA337 (Id. § 18).

     There is one more relevant agreement. In the SSA, the Successor

Special Servicer is contractually prohibited from itself collecting on past-

due and defaulted loans. JA323-25 (Id. § 2.B(i), (xiv)). So, from its

inception, the SSA was coupled with a separate subservicing

agreement—the DPCSA—between the primary Special Servicer and

another party (now Intervenor-Appellant Transworld Systems Inc.) that

would actually service delinquent loans in the event the primary Special

Servicer resigned or was removed—which, as noted, came to pass in 2012.



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See JA476-573; see also In re NCSLTs, 971 F.3d at 440.              It is the

subservicers whose alleged conduct is the focus of the CFPB’s complaint.

See JA389, 391, 393 (¶¶ 44, 50, 51, 71).

     C.    The Present Controversy

     1.    In September 2014, the CFPB issued a civil investigative

demand (CID) to each of the Trusts for information concerning collections

lawsuits brought against borrowers who defaulted on student loans

owned by the Trusts. JA367. Two years later, in 2016, the CFPB notified

each Trust of its intent to begin enforcement proceedings under the

CFPA’s UDAAP provision. JA368-69. During this time, the CFPB’s

single Director—Richard Cordray—was statutorily removable by the

President only for inefficiency, neglect, or malfeasance. JA374. The

Supreme Court decided Seila Law, finding the removal provision

unconstitutional and severable from the statute, in June 2020. 140 S. Ct.

at 2192.

     A law firm purporting to represent the Trusts engaged with the

CFPB. JA367. Despite serious questions as to the firm’s authority to

represent the Trusts—raised to the CFPB by the Owner Trustee and

others—the CFPB negotiated with that firm a Proposed Consent



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Judgment (PCJ) purporting to resolve its investigation as to the Trusts’

liability. Id. On September 18, 2017, the CFPB—still led by Director

Cordray—filed this action against the Trusts and moved simultaneously

for approval of the PCJ. JA77-92; Dkt. 3. Numerous parties successfully

intervened and objected, including Intervenor-Appellants Ambac

Assurance Corporation3 and Transworld. Dkt. 4, 9; JA163. The district

court (Noreika, J.) denied the CFPB’s motion to approve the PCJ, holding

that the law firm purporting to represent the Trusts lacked that

authority. JA303-17.

        Certain intervenors then moved to dismiss the CFPB’s complaint,

arguing (among other theories) that the district court lacked subject

matter jurisdiction because the Trusts were not “covered persons” under

the CFPA. The court expressed “some doubt that the Trusts are ‘covered

persons’ under the plain language of the statute.” JA371. Ultimately,

however, the court did not need to decide the statutory question in light

of certain intervenors’ separate argument that the separation-of-powers

violation identified in Seila Law deprived the CFPB of authority to




3 Ambac serves as the note insurer for several of the Trusts.      See Dkt. 95
at 4.

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initiate the enforcement action against the Trusts when it did, and that

a subsequent Director’s attempt to ratify the suit was ineffective. The

district court held that “the complaint, initially filed by a Director

unconstitutionally insulated from removal, cannot still be enforced.”

JA379. While expressing skepticism that the agency could cure this

defect via amendment or otherwise, the court afforded the CFPB the

opportunity to replead. JA380.

     One month later, the CFPB filed an amended complaint—the

operative one here. JA381-402. The amended complaint alleges that the

Trusts were created “to acquire a pool of private student loans, to issue

notes secured by that pool of student loans, and to service and collect on

those student loans.” JA386-87 (¶¶ 26-33). It alleges that the Trusts are

“covered persons” under the CFPA because they “engage” in debt

collection through “the actions of entities acting within the prescribed

authority of relevant Trust-Related Agreements” and that these actions

“are, legally, the actions of the Trusts themselves.” Id. And it claims

that the Trusts violated the CFPA’s prohibition against unfair or

deceptive practices when the subservicers allegedly (1) initiated

collections lawsuits supported by false or misleading affidavits and



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testimony, (2) improperly notarized such affidavits, (3) initiated

collections lawsuits without the intent or ability to prove its claims, and

(4) attempted to collect time-barred debt. JA391-95 (¶¶ 51-87). The

amended complaint seeks legal and equitable relief, including civil

monetary penalties and injunctive relief against the Trusts. JA401-02

(¶¶ 124-25).

      Appellants, along with several others, again moved to dismiss. See

Dkt. 367. Appellants again argued that the Trusts were not “covered

persons” under the CFPA because they are passive securitization

vehicles that do not take any action related to a consumer financial

service and do not control the subservicers. Additionally, the Trusts and

Ambac renewed the argument that the CFPB lacked authority to initiate

the action, and that the subsequent Director’s purported ratification was

untimely and ineffective.4

      2.    Following reassignment of the case to Judge Bibas, the

district court denied the renewed motion to dismiss. JA1-10.




4 Transworld took no position on the ratification question.     See Dkt. 367
at 7 n.1.

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     First, the district court concluded that the Trusts were “covered

persons” under the CFPA. The court reasoned that the term “engage”

was “broad enough to encompass actions taken on a person’s behalf by

another, at least where that action is central to his enterprise.” JA8. And

it concluded that the Trusts were engaged in the business of “collecting

debt and servicing loans when they [allegedly] contracted with the

servicers and subservicers to collect their debt and service their loans.”

JA8-9.

     Second, the district court relied on the Supreme Court’s intervening

decision in Collins v. Yellen, 141 S. Ct. 1761 (2021), to reach a new

conclusion on the constitutional question. The district court interpreted

Collins to hold that “an unconstitutional removal restriction does not

invalidate agency action so long as the agency head was properly

appointed.” JA5. It thus reasoned that the CFPB’s actions were not void

when taken and need not have been ratified. Id. And it concluded that

the Trusts could not prove that “the removal provision harmed” them in

a manner warranting relief because, in its view, the “suit would have

been filed even if the director had been under presidential control.” JA6.




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     After the district court certified its order for interlocutory appeal

under 28 U.S.C. § 1292(b), JA11-20, Appellants petitioned this Court for

permission to appeal, which the Court granted. JA21-22.

                         SUMMARY OF ARGUMENT

     1.      The Trusts are not “covered persons” under the CFPA’s

UDAAP provision because they do not “engage[] in offering or providing

a consumer financial product or service.” 12 U.S.C. § 5481(6). As courts

have recognized and dictionaries show, the ordinary meaning of the word

“engage” requires active involvement, and the Trusts are not actively

involved in “offering or providing” any financial products or services.

Instead, the Trusts are passive securitization vehicles that cannot act for

themselves. The district court’s conclusion that “engage” is broad enough

to cover indirect involvement by passive entities like the Trusts was

wrong.

     The structure of the CFPA confirms that the ordinary meaning of

“engage” applies here. Congress carefully crafted the UDAAP provision

to reach specific, defined categories of actors: those who offer financial

products and services (“covered persons”) and those who form specific

relationships with them (e.g., “service providers” and “affiliates”). An



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interpretation of “engage” that sweeps in indirect, passive involvement

undermines this precision.

     It is also at odds with how Congress legislates in this area. When

targeting unfair or deceptive practices, Congress knows how to delegate

wide-ranging enforcement authority, e.g., the FTCA, and it knows how to

carefully circumscribe regulation of only certain types of entities, e.g., the

FDCPA. With the CFPA, Congress took the latter, more targeted, route.

The district court’s expansion of the Bureau’s UDAAP authority subverts

this design.

     Finally, the history of the CFPA further bolsters the conclusion that

the Trusts are not “covered persons.” The bill that would eventually

become the CFPA would have afforded the CFPB UDAAP authority over

“any person who engages directly or indirectly in [certain] financial

activity.” Dodd-Frank Wall Street Reform and Consumer Protection Act,

H.R. 4173, 11th Cong. § 4002(9)(A) (2009) (emphasis added).                But

Congress ultimately adopted narrower language, omitting the phrase

“directly or indirectly” from the final version. See 12 U.S.C. § 5481(6).

This deletion confirms that Congress did not intend “covered persons” to




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reach entities like the Trusts that are—at most—indirectly involved in

offering financial services.

     2.    In the alternative, this action should be dismissed to remedy

the separation-of-powers violation in the initation of this suit.          The

Bureau sued the Trusts in 2017, when Director Richard Cordray was

statutorily removable by the President only for cause. The Supreme

Court later held that this tenure protection violated Article II. See Seila

Law, 140 S. Ct. at 2183.         An enforcement action initiated by an

unconstitutionally structured agency inflicts “a ‘here-and-now’ injury,”

id. at 2196, that demands a remedy tailored “to the injury suffered.”

United States v. Morrison, 449 U.S. 361, 364 (1981).

     Dismissal is the only sufficient remedy here. To be sure, courts

have recognized that agencies, once constitutionally structured, may cure

similar constitutional injuries by ratifying their prior decisions. See, e.g.,

CFPB v. Seila Law LLC, 997 F.3d 837, 846 (9th Cir. 2021). But the

agencies must still have authority to carry out the ratified task at the

time of ratification. See Advanced Disposal Services East, Inc. v. NLRB,

820 F.3d 592, 602 (3d Cir. 2016). If this authority has lapsed, ratification

is ineffective. The CFPB’s attempted ratification in this case came after



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the statute of limitations on the alleged violations had expired. See 12

U.S.C. § 5564(g)(1). With ratification unavailable, dismissal is the only

remedy that will redress the constitutional injury inflicted upon the

Trusts.

     Rejecting this established remedial framework, the district court

relied on a purportedly new rule announced in Collins v. Yellen. But

Collins is distinguishable.       First, it involved a different sort of

constitutional injury.      Collins was not an enforcement action; the

challengers went to court voluntarily as plaintiffs and took aim at

generally applicable agency action.          Second, that agency action—the

adoption of an agreement known as the “third amendment”—was free of

constitutional error when first taken, unlike the initiation of the suit

against the Trusts.       And third, the Collins plaintiffs sought vastly

different—and more expansive—relief than the Trusts do here. Collins

should not be read to foreclose an established remedy that was never at

issue.

     Even if Collins is applicable, moreover, the Trusts are still entitled

to dismissal. The Trusts suffered the precise “harm” that Collins held

would merit retrospective relief: President Trump publicly noted his



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desire to fire Director Cordray, was thwarted by an unconstitutional

removal provision, and Director Cordray subsequently filed this action

against the Trusts. The district court’s contrary conclusion relied on a

faulty reading of Collins, importing a heightened requirement for

showing “harm” that is nowhere in the majority opinion.

                       STANDARD OF REVIEW

     This Court reviews de novo questions certified for interlocutory

appeal under 28 U.S.C. § 1292(b). Barbato v. Greystone Alliance, LLC,

916 F.3d 260, 264 (3d Cir. 2019).

                              ARGUMENT

     The district court erred in declining to dismiss this action for two

independent reasons. First, the court should have dismissed this action

because the Trusts are not “covered persons” under the CFPA. The CFPB

has not alleged any other basis for making them subject to the agency’s

UDAAP enforcement authority, nor has it alleged any cause of action

outside its UDAAP authority. Second, even if not, the court should have

dismissed this action to remedy the harm inflicted upon the Trusts

through the unconstitutional exercise of unaccountable executive power

against them.



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I.   THE TRUSTS ARE NOT “COVERED PERSONS” UNDER
     THE CFPA.

     The dispositive statutory question in this case is whether the Trusts

are subject to the CFPB’s UDAAP enforcement authority because they

“engage[] in offering or providing a consumer financial product or

service.” 12 U.S.C. § 5481(6). They do not. All the traditional tools of

statutory interpretation—text, structure, context, and history—confirm

that the term “engage” in § 5481(6) requires active participation in the

activity at issue and does not extend to passive securitization vehicles

like the Trusts. The district court erred in concluding otherwise.

     A.    The Trusts Do Not “Engage” in the “Offering or
           Providing” of Consumer Financial Products or
           Services Under the CFPA.

           1.       The ordinary meaning of the term “engage” does not
                    encompass the Trusts’ passive role.

     The interpretation of a statute “begins with the statutory text.”

BedRoc Ltd., LLC v. United States, 541 U.S. 176, 183 (2004). When a

term is left undefined by the statute, courts should “construe it in accord

with its ordinary or natural meaning.” Smith v. United States, 508 U.S.

223, 228 (1993). As a matter of ordinary meaning, to “engage” in an

activity requires active participation, not a mere passive or indirect

connection to it.


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     In both general and legal dictionaries, “engage” requires active and

volitional involvement.    To “engage” in an activity is to “involve” or

“occupy oneself” with that activity, to “take part” in it and “be active.”

See, e.g., Engage, Black’s Law Dictionary (11th ed. 2019) (“To employ or

involve oneself; to take part in; to embark on.”); Webster’s Unabridged

Dictionary of the English Language at 644 (2001) (“[T]o occupy oneself;

become involved.”); Webster’s New World College Dictionary at 471 (4th

ed. 1999) (“[T]o occupy or involve oneself; take part; be active.”).

     An individual engages in gardening by planting flowers and pulling

weeds. A firefighter engages in fighting fire. But the gardener’s landlord

is not engaged in gardening—even if he requires a cut of the proceeds.

And “dispatchers do not have the ‘responsibility to engage in fire

suppression.’” Haro v. City of Los Angeles, 745 F.3d 1249, 1257 (9th Cir.

2014) (emphasis added). In plain terms, engaging is hands-on.

     This ordinary understanding of the term is echoed throughout the

law. As one court recently put it: “Plainly, if one is engaged in an activity,

one is actively involved in it, i.e., doing the activity.” United States v.

Nagarwala, 438 F. Supp. 3d 821, 826 (E.D. Mich. 2020); see Haro, 745

F.3d at 1257 (The “term most logically refers to those who are dispatched



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to the fire scene and actively engage the fire.”); United States v. Graham,

305 F.3d 1094, 1102 (10th Cir. 2002) (“The term ‘engage’ is commonly

defined as ‘to occupy or involve oneself; take part; be active.’”) (citation

omitted).

            2.   The CFPA’s structure confirms the ordinary meaning of
                 the text.

     The statutory structure of the CFPA, moreover, demonstrates that

Congress used “engage” in accordance with its ordinary meaning. “[T]he

words of a statute must be read in their context and with a view to their

place in the overall statutory scheme.” Util. Air Regulatory Grp. v. EPA,

573 U.S. 302, 320 (2014) (citation omitted). The CFPA’s articulation of

the actors and entities which the CFPB may regulate supports a narrow

reading of the UDAAP provision and confirms that a “covered person”

must be actively involved in offering a consumer financial product or

service.

     The CFPA carefully identifies the types of actors the Bureau’s

UDAAP authority reaches, focusing on the specifics both of their conduct

and of their relationships with other industry participants. As noted, the

CFPB’s UDAAP enforcement authority extends to “covered persons” and

“service providers.”   12 U.S.C. §§ 5531(a), 5481(6), (26).       A “covered


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person” is anyone who “engages in offering or providing a consumer

financial product or service” or “any affiliate of [such] a person . . . if such

affiliate acts as a service provider to [the covered] person.” Id. § 5481(6).

An “affiliate” is “any person that controls, is controlled by, or is under

common control with another person.” Id. § 5481(1).

      For non-banks, a “related person . . . shall be deemed to mean a

covered person” as well. Id. § 5481(25). “Related person” is another

carefully (and exhaustively) defined term: it includes “any director,

officer, or employee charged with managerial responsibility,” a

“controlling shareholder of” a covered person, or a covered person’s

“agent.” Id. § 5481(25)(C)(i). It includes “any shareholder, consultant,

joint venture partner, or other person . . . who materially participates in

the conduct of the affairs of [a] covered person.” Id. § 5481(25)(C)(ii). And

it also includes “any independent contractor” of a covered person “who

knowingly     or      recklessly   participates”   in   wrongdoing.         Id.

§ 5481(25)(C)(iii).

      Finally, a “service provider” is “any person that provides a material

service to a covered person in connection with the offering or provision by

such covered person of a consumer financial product or service” but



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excludes certain services like support services, ministerial services, and

advertising. Id. § 5481(26). A “service provider” may also be a “covered

person” in their own right “to the extent that such person engages in the

offering or provision of its own consumer financial product or service.”

Id. § 5481(26)(C).

     In short, the CFPA delineates the scope of the CFPB’s UDAAP

enforcement authority with precise, granular definitions. It includes

particular persons and entities that directly participate in the offering or

provision of financial products or services (i.e., covered persons), and

certain other persons and entities that enter into specific relationships

(and related conduct) with those covered persons (i.e., affiliates, related

persons, service providers).     Each of those categories are carefully

circumscribed and painstakingly defined.          This detailed scheme is

incompatible with the district court’s gestalt approach to “covered

person” status.      And it is fundamentally undermined by the district

court’s broad definition of “engage” that confers “covered person” status

on entities only passively or indirectly connected to the offering of a

consumer financial product or service.




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              3.   The broader statutory context demonstrates Congress’s
                   targeted approach to the CFPB’s UDAAP enforcement
                   authority.

      Other delegations of authority under consumer protection statutes

underscore Congress’s targeted approach to the scope of the CFPB’s

UDAAP enforcement authority. Congress takes different approaches

when setting the bounds of agency authority. Some delegations are

broad, subjecting a wide range of actors to an agency’s investigatory and

enforcement powers. Others are more targeted, conscribing the agency’s

enforcement powers or targeting prohibitions on a particular group of

actors, a particular type of conduct, or both. The CFPA is an example of

the latter.

      Consider the FTCA. Similar to the CFPA, the FTCA authorizes the

FTC to prevent “[u]nfair methods of competition” and “unfair or deceptive

acts or practices.” 15 U.S.C. § 45(a)(1)-(2). Yet quite unlike the CFPA,

the FTC’s enforcement authority broadly reaches virtually all “persons,

partnerships, or corporations,” with limited exceptions that are express

in the statute. 15 U.S.C. § 45; see pp. 6-7, supra. What is more, the FTCA

is not bound by industry.      Although Congress confined the CFPB’s

UDAAP enforcement authority to financial products and services, it



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empowered the FTC to police anything “in or affecting commerce.” 15

U.S.C. § 45(a)(1).

      The FDCPA, by contrast, offers an instructive example of

Congress’s narrower approach.          That statute also targets “abusive,

deceptive, and unfair” practices.       15 U.S.C. § 1692.       But Congress

circumscribed the FDCPA, both in scope and reach. It reaches only “debt

collector[s].” 15 U.S.C. §§ 1692f, 1692a(6). And it applies only to “unfair

or unconscionable means” used “to collect or attempt to collect any debt.”

15 U.S.C. § 1692f. These two schemes reveal that Congress knows how

to legislate in this area. It can cast a net just as easily as it can spearfish.

With the CFPB’s UDAAP authority, it did the latter.

      Indeed, in at least one important respect, the CFPA is even

narrower than the FDCPA. The FDCPA defines a debt collector as a

person (1) “in any business the principal purpose of which is the collection

of any debts,” or (2) “who regularly collects or attempts to collect, directly

or indirectly, debts owed or due or asserted to be owed or due another.”

15 U.S.C. § 1692a(6). In other words, a debt collector is either a person

in the business of collecting debts or a person who “regularly collects”

debt. As the Court explained in Barbato v. Greystone Alliance LLC,



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supra, the first “principal purpose” definition focuses not on “the act of

collecting” but “what is collected, namely, the acquired debts”; “[a]s long

as a business’s raison d’être is obtaining payment on the debts that it

acquires, it is a debt collector” regardless of who is doing the collecting.

916 F.3d at 267. By contrast, the second “regularly collects” definition

“describ[es] the actions of those [Congress] intended the definition to

cover.” Id. “[B]y its terms, the ‘principal purpose’ definition sweeps more

broadly than the ‘regularly collects’ definition.” Id. at 267-68.

     The CFPA includes only the second, narrower type of definition. An

entity becomes a “covered person” by the conduct it “engages” in—akin to

the action-based approach of the FDCPA’s “regularly collects” prong—

and not because of its “primary purpose.”        By defining the CFPB’s

authority only by “specify[ing] who must do the collecting” or offer

another financial product or service, Congress thus swept more narrowly

in the CFPA’s covered-person provision than it did in the FDCPA. Id. at

267-68.

           4.    The CFPA’s drafting history further underscores the
                 limited reach of the phrase “covered person.”

     Finally, the drafting history of the CFPA further supports the

limited scope of the covered-person provision. When initially introduced,


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the bill’s first draft defined “covered person” in more sweeping terms:

“any person who engages directly or indirectly in a financial activity, in

connection with the provision of a consumer financial product or service.”

Dodd-Frank Wall Street Reform and Consumer Protection Act, H.R.

4173, 11th Cong. § 4002(9)(A) (2009) (emphasis added).           Indeed, the

definition was so broad that the bill explicitly exempted from the

definition “the Secretary, the Department of the Treasury, [and] any

person collecting Federal taxes for the United States.” Id. § 4002(9)(B).

     The meaning of “covered person,” however, was narrowed while the

bill was under consideration. The final bill enacted into law omits the

capacious “directly or indirectly” phrase—as well as the corresponding

exemption for government officials. See 12 U.S.C. § 5481(6). “Where

Congress includes limiting language in an earlier version of a bill but

deletes it prior to enactment, it may be presumed that the limitation was

not intended.” Russello v. United States, 464 U.S. 16, 23-24 (1983). So

too with language proposed to expand a statute’s reach. See Cable Invs.,

Inc. v. Woolley, 867 F.2d 151, 156 (3d Cir. 1989). The district court

effectively overrode this intent, reinserting “indirectly” where Congress




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saw fit to omit it.    Cf. 12 U.S.C. § 5515(e)(4) (retaining the phrase

“directly or indirectly” in another CFPA provision).

     B.    The District Court Erred in Holding That the Trusts
           Are Covered Persons.

     Under the better reading of the CFPA, the Trusts are not “engaged”

in providing financial products or services because they are not actively

involved in any servicing or collection efforts. As the amended complaint

alleges, the entities directly involved in those activities are the servicers,

including the subservicers. And, as the district court recognized, the

Trusts exercise no ongoing supervision or control over the performance

of the Special Servicer—much less the subservicers themselves. In short,

the CFPB’s UDAAP enforcement authority extends to a range of entities

involved in the servicing and collecting of the student loans at issue here.

But the Trusts are not among them.

     The district court thus erred in concluding that the Trusts are

“covered persons” under the CFPA on the theory that “they ‘engaged in’

servicing loans and collecting debt through their contractors.”            JA2.

According to the court, the term “engage” is “broad enough to encompass

actions taken on a person’s behalf by another, at least where that action

is central to his enterprise.”    JA8.     And so, according to the court,


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the Trusts engaged in “collecting debt and servicing loans when

they contracted with the servicers and subservicers to collect their debt

and service their loans.” JA8-9. That reasoning is flawed in several

respects.

     1.     Most fundamentally, the district court erred by failing to

interpret the CFPA in light of the statute’s structure, context, and

history. The court relied almost exclusively on two dictionary definitions

to support its reading of the term “engage.”         That term, the court

concluded, “means ‘to embark in any business’ or ‘to enter upon or employ

oneself in an action’”—a meaning it found “broad enough to encompass

actions taken on a person’s behalf by another, at least where that action

is central to his enterprise.” JA8. As explained, this “broad” meaning of

“engage”—encompassing actions taken exclusively by another—departs

from its ordinary meaning, which requires active participation in the

task, and is inconsistent with the definitions on which the district court

itself relied. See pp. 24-26, supra. But even if it were a possible meaning

of the text in the abstract, the remaining tools of statutory construction—

structure, context, and history—all confirm that Congress intended the




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ordinary meaning to apply here. The court erred by failing to rely on

those fundamental tools of statutory construction.

     2.    The district court further erred by adopting a definition of

“engage” that reaches beyond the “common-law . . . principles,” which are

the “background” against which “Congress is understood to legislate.”

Meyer v. Holley, 537 U.S. 280, 285 (2003). The court held that “engage”

“encompass[es] actions taken on a person’s behalf by another,” even if the

ultimate actor is an independent contractor, not subject to the Trusts’

control. JA8-9. At common law, attributing to one person “actions taken

on [that] person’s behalf by another” is a quintessential question of

agency. And the court provided no basis for concluding that Congress

intended to sweep broader than those principles here.           If anything,

Congress’s careful articulation of the various actors subject to the CFPB’s

UDAAP enforcement authority suggests the opposite. See pp. 26-28,

supra.5




5 A broad reading of “engage” may have further unintended consequences

still—if, for instance, it were relied upon to expand not just who is subject
to the Bureau’s UDAAP enforcement authority, but also whose acts they
may be held liable for. See 12 U.S.C. §§ 5531(a), 5536(a)(1)(B).

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     “An agency relationship,” this Court has observed, “is created when

one party consents to have another act on its behalf, with the principal

controlling and directing the acts of the agent.” Covington v. Int’l Ass’n

of Approved Basketball Officials, 710 F.3d 114, 120 (3d Cir. 2013)

(quotations and citation omitted). Had the district court applied this

familiar standard, it would have been forced to grapple with the various

trust documents incorporated by reference in the complaint, which

demonstrate on their face that neither the Special Servicer nor the

subservicers are “control[led]” or “direct[ed]” by the Trusts or other Trust

parties.   Rather, multiple parties contracted with the initial Special

Servicer, and the initial Special Servicer contracted with the subservicers

that actually serviced the loans. Under that agreement, the Special

Servicer is an “independent contractor . . . not . . . subject to the

supervision of the Trusts,” and has the sole authority to hire and oversee

the subservicers. JA323, 336-37 (SSA §§ 2.B(i)-(iii), 17); see JA107, 109-

10, 111-12 (Trust Agreement §§ 2.03, 3.02, 4.01); JA152 (Administration

Agreement § 5; JA171-72 (Indenture Agreement (Granting Clause)). The

Trusts are not even signatories to the agreement between the Special

Servicer and the subservicers. See JA475-573.



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     It does not help matters that the district court suggested that

another entity’s conduct might be attributed to the Trusts only where the

conduct was “central to [their] enterprise.” JA8. While such a limiting

principle might eliminate some of the most absurd applications of the

court’s interpretation, it has no basis in the statutory text, and does

nothing to reconcile the court’s holding with the common law.              See

Rotkiske v. Klemm, 140 S. Ct. 355, 360-61 (2019) (“It is a fundamental

principle of statutory interpretation that ‘absent provision[s] cannot be

supplied by the courts.’” (quotation omitted)). The result is a statutory

interpretation unmoored from both the text and background principles.

     In this regard, the district court’s reliance on this Court’s decision

in Barbato is telling. See JA9. The district court summarized Barbato

as holding that “a ‘passive debt owner’ counted as a ‘debt collector’ under

the Fair Debt Collection Practices Act when it contracted with a third

party to collect debt on its behalf.” JA9 (citing Barbato, 916 F.3d at 266-

68). True enough. But the district court has the significance of that

holding exactly backwards. The definition of “debt collector” in the FCPA

includes both (1) entities “in any business the principal purpose of which

is the collection of any debts” and (2) those “who regularly collect[]” debts.



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15 U.S.C. § 1692a(6). In Barbato, this Court held that entities who “hir[e]

a third party to do [the] collecting” qualify as “debt collectors” only under

the first definition, not the second. 916 F.3d at 261, 268. Here, the

district court determined that the Trusts qualify as “covered persons” by

applying a definition almost identical to the FDCPA’s second definition.

See JA7-9 (concluding that the Trusts are “engaged in” “the business of

collecting debt and servicing loans,” which are “core aspects of the[ir]

business model”).      But the CFPA lacks any analog to the FDCPA’s

“primary purpose” definition. By explaining that “passive debt owners”

qualify as “debt collectors” only under an FDCPA definition that the

CFPA lacks, Barbato powerfully undermines the decision below, rather

than supports it.

     3.    Finally, the district court erred to the extent that its

interpretation of the CFPA was based on a concern that a narrower

interpretation would leave the CFPB without recourse. In reaching its

conclusion, the court appeared to express concern that the Trusts might

escape the reach of the CFPB by “contract[ing] . . . out” “a key part of

their business.” JA9. Even if that were a result to be avoided, it has no

bearing here. In interpreting a federal statute, it is the role of the court



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“to declare what the law is, not what” one might “think the law should

be.” Oklahoma v. Castro-Huerta, 142 S. Ct. 2486, 2504 (2022).

      In any event, such concerns are misplaced. The CFPB has ample

authority to pursue the actors who actually engage in behavior the agency

believes warrants enforcement—as well as their affiliates, service

providers, and various related persons. Transworld has already entered

into a separate consent order with the Bureau, in 2017, addressing loan-

servicing allegations that substantially overlap with those alleged in the

complaint. See Dkt. 54-2; see also CFPB v. NDG Fin. Corp., No. 15-cv-

5211, 2016 WL 7188792, at *20 (S.D.N.Y. Dec. 2, 2016) (holding that the

CFPB may seek disgorgement from “relief defendants” not otherwise

subject to direct liability).

      What the CFPB cannot do is stretch its authority beyond the limits

Congress imposed. Passive entities that do not do anything by their own

accord are not “covered persons” as the agency now asserts. Because the

Trusts’ alleged status as a “covered person” is a predicate for the only

causes of action in the CFPB’s complaint, the district court’s order should

be reversed and this case should be remanded with instructions to

dismiss the complaint.



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II.   ALTERNATIVELY, THE COMPLAINT SHOULD BE
      DISMISSED TO REMEDY THE SEPARATION-OF-POWERS
      VIOLATION.6

      Because the Complaint fails to state a claim under the CFPA, this

Court need not reach the constitutional question also certified by the

district court. If the Court does reach the issue, however, it offers an

alternative ground for reversal: the district court should have dismissed

this action to remedy the separation-of-powers violation in the CFPB’s

enforcement against the Trusts. Then-Director Cordray initiated this

suit against the Trusts—a quintessential exercise of executive power—

while unconstitutionally insulated from presidential supervision. This

unaccountable enforcement inflicted on the Trusts “a ‘here-and-now’

injury” that only dismissal can remedy here, where the CFPB’s attempt

at ratification came too late . Seila Law, 140 S. Ct. at 2196. The district

court erred by construing Collins to foreclose this relief.

      A.   Director Cordray’s Initiation of This Enforcement
           Action Inflicted a “Here-and-Now” Injury That Should
           Be Remedied.

      When Director Cordray began this action against the Trusts, his

freedom from presidential supervision violated Article II, and his


6 Consistent with its position below, Transworld takes no position on

this question.

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unconstitutional exercise of that authority imposed harm on the Trusts

that demands a remedy.

           1.    By insulating him from removal, the CFPA left Director
                 Cordray unconstitutionally unaccountable to the
                 President and thus the American people.

     When the CFPB filed this suit in September 2017, JA77, “the

CFPB’s leadership by a single individual removable only for inefficiency,

neglect, or malfeasance violate[d] the separation of powers.” Seila Law,

140 S. Ct. at 2197; see JA9.

     As the Supreme Court would explain, the “entire ‘executive Power,’

belongs to the President alone.” Seila Law, 140 S. Ct. at 2197 (quoting

U.S. Const., Art. II, § 1, cl. 1). While “lesser executive officers” may of

course “‘assist . . . in discharging the duties of his trust,’” they “must

remain accountable to the President, whose authority they wield.” Id.

(citation omitted). Lesser officials generally must be removable at will

by the President because it is the “power to remove” through which the

President “supervise[s] those who wield executive power on his behalf.”

Id. at 2191; see Collins, 141 S. Ct. at 1787 (“[T]he Constitution prohibits

even ‘modest restrictions’ on the President’s power to remove the head of

an agency with a single top officer[.]”).        Such accountability to the



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President ultimately ensures accountability to the People and safeguards

their liberty. See id. at 2203 (The Framers “divide[d] power everywhere

except for the Presidency, and render[ed] the President directly

accountable to the people through regular elections.”); Collins, 141 S. Ct.

at 1780.

     In Seila Law, the Court held that, by insulating the single Director

of the CFPB from removal by the President except for cause, the CFPA

vested executive power instead in a “single individual accountable to no

one.” Id. at 2203. Director Cordray was “neither elected by the people

nor meaningfully controlled (through the threat of removal) by someone

who [wa]s.”     Id.    Yet he was empowered, “without meaningful

supervision,” to “issue final regulations, oversee adjudications, set

enforcement priorities, initiate prosecutions, and determine what

penalties to impose on private parties.” Id. at 2203-04. That “insulation

from removal by an accountable President . . . render[ed] the agency’s

structure unconstitutional.” Id. at 2204.




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           2.    Targeted by Director Cordray’s unconstitutional
                 enforcement authority, the Trusts suffered a “here-and-
                 now” injury.

     When the CFPB initiated this enforcement action against the

Trusts prior to Seila Law, the Trusts suffered an immediate and legally

cognizable injury. As the Court explained in Seila Law, when targeted

for enforcement by unaccountable executive power, regulated third

parties suffer “a ‘here-and-now’ injury . . . that can be remedied by a

court.” Seila Law, 140 S. Ct. at 2196.

     While made express in Seila Law, the roots of this holding date to

two of the Court’s earlier removal cases. In Free Enterprise Fund v.

Public Company Accounting Oversight Board, the Court considered the

structure of the Public Company Accounting Oversight Board (PCAOB).

561 U.S. 477, 484 (2010). Like the CFPB, the PCAOB enjoyed wide-

ranging enforcement authority—“significant executive power”—while its

Board members were removable only “for good cause.” Id. at 486, 514

(quoting 15 U.S.C. § 7211). When an accounting firm being investigated

by the Board sued the agency, the Supreme Court agreed that the

PCAOB was vested with “executive power without the Executive’s

oversight” in violation of Article II. Id. at 487, 489. And the Court held



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that the firm was “entitled” to a remedy for its injury—specifically,

“declaratory relief sufficient to ensure that” the regulations “to which

they are subject will be enforced only by a constitutional agency

accountable to the Executive.”        Id. at 513 (emphasis added) (citing

Bowsher v. Synar, 478 U.S. 714, 727 n.5 (1986)).

     Bowsher is also instructive.          There, the Court considered the

functions of the Comptroller General, who was removable not by the

President, but by Congress. 478 U.S. at 732. Because the Comptroller

General wielded executive powers, the Court held the removal

limitations unconstitutional:     “the Comptroller General’s presumed

desire to avoid removal by pleasing Congress . . . creates the here-and-

now subservience to another branch that raises separation-of-powers

problems.”   Id. at 727 n.5 (citation omitted).       Consistent with Free

Enterprise, the defendants were awarded declaratory relief to ensure that

the Comptroller General could not unlawfully exercise those executive

powers, and the Supreme Court affirmed. See id. at 721.

     When the CFPB initiated this suit, the Trusts suffered the same

type of “here-and-now injury” recognized in Seila Law, Free Enterprise

Fund, and Bowsher. Director Cordray wielded “executive power without



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the Executive’s oversight,” Free Enterprise Fund, 561 U.S. at 484, 498,

haling the Trusts into a complex and protracted battle in federal court

while he was protected by an unconstitutional statutory restriction on his

removal.   This inflicted a constitutional injury, and the Trusts are

entitled to relief sufficient to ensure that the CFPA is “enforced only by

a constitutional agency accountable to the Executive.” Id. at 513.

     B.    Absent Timely and Valid Ratification, the Appropriate
           Remedy For an Enforcement Action Initiated by an
           Unaccountable Executive Official Is Dismissal.

     In this case, the appropriate remedy for the Trust’s “here-and-now”

injury is dismissal.   As a “general rule,” remedies for constitutional

injuries “should be tailored to the injury suffered from the constitutional

violation.” Morrison, 449 U.S. at 364; see United States v. Arthrex, Inc.,

141 S. Ct. 1970, 1997 (2021) (Breyer, J., concurring) (“any remedy” for an

Article II violation “should be tailored to the constitutional violation”).

Free Enterprise Fund confirms that a federal statute may be “enforced

only by a constitutional agency accountable to the Executive.” 561 U.S.

at 508, 513 (emphasis added).         Yet the Trusts are subject to this

enforcement action because of the enforcement decisions of an agency

unaccountable to the Executive. In the circumstances of this case, the



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appropriately tailored remedy for the unconstitutional initiation of these

enforcement proceedings is dismissal of those proceedings.

     To be sure, courts have held that the injury caused by an

enforcement action initiated while an agency was inadequately

supervised by the President may sometimes be addressed through

ratification by a constitutionally accountable official. “The basic idea,” as

one court put it, “is that a legitimate agent (here, the CFPB Director,

post-Seila Law) can ratify a decision made previously by an improper

agent (the Director, pre-Seila Law) on behalf of a principal (the CFPB

itself ).” CFPB v. Citizens Bank, N.A., 504 F. Supp. 3d 39, 50 (D.R.I.

2020).

     The Ninth Circuit endorsed this approach on remand in Seila Law

itself. The challenger’s “only cognizable injury” there, the court noted,

“arose from the fact that the agency issued the CID and pursued its

enforcement while headed by a Director who was improperly insulated

from the President’s removal authority.” Seila Law, 997 F.3d at 846. Yet

post-severance, the Director is under “adequate presidential oversight

and control,” so her decision to ratify earlier acts of executive power

“remedies any constitutional injury.” Id.



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     The D.C. Circuit took a similar approach in Federal Election

Commission v. Legi-Tech, Inc., 75 F.3d 704 (D.C. Cir. 1996). There, while

an enforcement action was pending, another case found the FEC’s

structure unconstitutional based on “the presence of [ ] two congressional

officers as non-voting ex officio members.” Id. at 706. The FEC “voted to

reconstitute itself” and exclude the ex officio members, and then ratified

its prior enforcement decision. Id. at 706-07. In light of the ratification,

the court held that dismissal was not “necessary.” Id. at 708. The “post-

reconstitution ratification,” it held, was “an adequate remedy for the . . .

constitutional violation.” Id. at 709.

     This Court followed suit in Advanced Disposal Services East, Inc. v.

NLRB, 820 F.3d 592 (3d Cir. 2016), albeit in a somewhat different

posture. At issue there was a “quorum violation which stripped” the

NLRB and its director “of the authority to oversee [a] Union election.” Id.

at 602. Once “properly constituted,” the NLRB ratified the previous

decision, leaving this Court to consider “whether this ‘remedy adequately

addressed the prejudice’ . . . stemming from [the] unauthorized conduct.”

Id. (quoting Legi-Tech, 75 F.3d at 708). “If so,” this Court answered,

“‘dismissal is neither necessary nor appropriate.’” Id. (quoting Legi-Tech,



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75 F.3d at 708). Because the Court found the ratification proper, it held

that the constitutional injury was remedied. Id. at 605-06.

      But where ratification is unavailable or ineffective, the pre-Collins

consensus was that dismissal was appropriate and required. See, e.g.,

CFPB v. Access Funding, LLC, No. 16-3759, 2021 WL 2915118, at *16 (D.

Md. July 12, 2021) (“[T]he question before this Court is whether [the

constitutional] defect has been cured by ratification or whether dismissal

is required.”) (emphasis added); CFPB v. Navient Corp., 523 F. Supp. 3d

681, 702 (M.D. Pa. 2021) (recognizing that an enforcement suit may

“require dismissal” if not “timely ratified”); CFPB v. Law Offices of

Crystal Moroney, No. 20-3240, Dkt. 34-5, at *65-67 (S.D.N.Y. Aug. 18,

2020) (holding that an effective ratification renders dismissal “neither

necessary nor appropriate”); see also FEC v. NRA Political Victory Fund,

6 F.3d 821, 828 (D.C. Cir. 1993) (“Here, . . . appellants raise the

constitutional challenge as a defense to an enforcement action, and we

are aware of no theory that would permit us to declare the Commission’s

structure unconstitutional without providing relief to the appellants in

this case.”).




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     Indeed, this straightforward remedial rule—dismiss unless

ratified—was repeatedly endorsed by the CFPB itself in both word and

deed. In this very case, the CFPB called out what it considered a “simple

fact”: that “ratification . . . provides the remedy for the Constitutional

violation” at issue. JA359; see also Br. in Opp. to Mot. for J. on Pleadings,

CFPB v. Navient Corp., No. 17-0101, Dkt. 518, at 8 (M.D. Pa. July 24,

2020). Its own “ratification,” the agency declared, “cured any problem

with the initial filing and prosecution of this case.” JA357; see JA404-05

(“[t]he Court . . . agreed with the Bureau that ratification could

potentially cure any problem stemming from the removal restriction”).

And the agency has consistently taken this approach, ratifying its own

constitutionally infirm enforcement decisions post-Seila Law—see, e.g.,

Citizens Bank, 504 F. Supp. 3d at 44; Navient Corp., 523 F. Supp. 3d at

686. These actions would have been meaningless if a remedy were not

otherwise appropriate and required.

     C.    The CFPB’s Ratification Was Untimely.

     Consistent with this approach, CFPB Director Kathleen Kraninger

tried to ratify on July 9, 2020—“a few weeks after the Supreme Court’s

decision in Seila Law.” JA375; see JA318-20. But as Judge Noreika



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recognized (and Judge Bibas did not disagree), that ratification was

ineffective.

      For an agency’s ratification to be effective, “the ratifier must, at the

time of ratification, still have the authority to take the action to be

ratified.” Advanced Disposal, 820 F.3d at 602. “[I]t is essential that the

party ratifying should be able not merely to do the act ratified at the time

the act was done, but also at the time the ratification was made.” Id.

(quoting FEC v. NRA Political Victory Fund, 513 U.S. 88, 98 (1994)). As

the Supreme Court explained, if an act “must be performed before a

specific time,” ratification of that act “is not effective . . . unless made

before such time.”     NRA Political Victory Fund, 513 U.S. at 98.          If

ratification comes after the statute of limitations has expired, it is

“simply . . . too late in the day to be effective.” Id.; accord Benjamin v.

V.I. Port Auth., 684 F. App’x 207, 212 (3d Cir. 2017).

      So it is here.    Under Dodd-Frank, the CFPB must bring an

enforcement action no “more than 3 years after the date of discovery of

the violation to which an action relates.” 12 U.S.C. § 5564(g)(1). The

CFPB discovered the alleged violations far more than three years before

its July 2020 ratification, having served each Trust with a notice of its



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intent to begin enforcement proceedings in 2016. JA367-68. Director

Kraninger’s ratification was therefore ineffective and dismissal is the

only remedy that can “adequately address[ ] the prejudice . . . stemming

from [the CFPB’s] unauthorized conduct.” Advanced Disposal, 820 F.3d

at 602.

     The CFPB concedes that Director Kraninger’s ratification “came

more than three years after” the date it discovered its allegations. See

JA375. And although the agency urged the district court to equitably toll

the statute of limitations to deem the ratification timely, that argument

fails. Equitable tolling is an extraordinary remedy to preserve the right

of the injured to seek a remedy; here, it would extend the CFPB’s ability

to avoid one. Cf. John Doe Co. v. Cordray, 849 F.3d 1129, 1137 (D.C. Cir.

2017) (Kavanaugh, J., dissenting) (“the equities favor the people whose

liberties are being infringed, not the unconstitutionally structured

agency”). If equitable tolling applied for the simple reason that the

Supreme Court did not decide Seila Law until after the statute had run,

an agency could always invoke the doctrine to ratify enforcement actions

initiated by an unaccountable executive official regardless of how

untimely constitutional accountability was restored.



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      In any event, even if equitable tolling could ever save untimely

agency ratification, the district court correctly determined in the first

dismissal order that it is unavailable here. See JA375-78. Equitable

tolling is only available to a litigant who “pursu[ed] his rights diligently.”

Menominee Indian Tribe of Wis. v. United States, 136 S. Ct. 750, 755

(2016). And, here, as the district court explained, despite ample notice of

the   potential   unconstitutionality      of   the    CFPB’s     structure—and

specifically, the removal restrictions on its Director—the agency has

failed to identify “a single act that it took to preserve its rights in this

case in anticipation of the constitutional challenges.” JA375-78; see id.

(collecting cases involving “constitutional challenges” to the CFPB’s

structure prior to Seila Law). Indeed, even after given the chance to

amend its complaint specifically to address any such efforts, the

operative complaint mentions none. It does not allege, for example, that

Acting Director Mick Mulvaney, who served from November 2017 to

December 2018 without the statutory removal restrictions, CFPB v. RD

Legal Funding, LLC, No. 17-0890, 2022 WL 799429, at *3 (S.D.N.Y. Mar.

16, 2022), attempted such a ratification.              And with good reason.

Mulvaney, the CFPB conceded below, chose not to ratify the enforcement



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decision in this case, see Dkt. 348-1, at 40:7-10, though he did ratify at

least three other pending enforcement proceedings during his tenure as

Acting Director, see Dkt. 348, at 1 & n.1. The CFPB cannot plausibly

claim to have diligently pursued its rights in this matter.

      D.     Collins v. Yellen Does Not Require a Different Result.

      Applying this long-established remedial framework, and finding

the CFPB’s attempted ratification ineffective, Judge Noreika properly

dismissed the initial complaint in this case. See JA373-79. Yet Judge

Bibas changed course less than a year later based on the Supreme Court’s

intervening decision in Collins v. Yellen, supra. See JA5-7. Noting that

“litigation” can be “a moving target,” the district court held that Collins

announced a “new rule” that saved the CFPB’s case from dismissal. That

was error.

             1.   Collins does not displace well-established remedial
                  principles.

      Collins does not move the target for those challenging enforcement

actions initiated by an unaccountable agency head. To the contrary, the

Collins decision reaffirms that an unconstitutional removal provision

merits retrospective relief where it inflicts harm on the party challenging

it.   141 S. Ct. at 1788-89.     It does not change the fact that such


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enforcement inflicts a “here-and-now injury” that may be remedied by a

court. It does not alter the requirement that a constitutional injury be

met with a tailored remedy.      And it does not question that, absent

effective ratification, dismissal of an enforcement action is the

appropriate tailored remedy for that harm.

     a.    Collins concerned an affirmative challenge to the structure of

the Federal Housing Finance Agency (FHFA), an independent agency

created during the 2008 housing crisis. Among other responsibilities,

FHFA was “tasked with regulating” government-backed mortgage

financers Fannie Mae and Freddie Mac “and, if necessary, stepping in as

their conservator or receiver.” Id. at 1770. By congressional design,

FHFA, like the CFPB, was led by “a single Director, whom the President

could remove only ‘for cause.’” Id. at 1770.

     After FHFA placed Fannie and Freddie into conservatorship, it

then negotiated various “agreements for the companies with the

Department of Treasury,” designed to ensure their liquidity and ability

to lend.   Id.   One such agreement, called “the third amendment,”

ultimately caused Fannie and Freddie “to transfer enormous amounts of

wealth to Treasury.” Id. “These payments totaled approximately $200



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billion,” the Court calculated, “which is at least $124 billion more than

the companies would have had to pay” under the “formula that previously

applied.” Id. at 1774.

     Shareholders of the two companies sued the FHFA and its director

challenging the third amendment. Id. at 1775. As relevant here, they

argued that the Director’s insulation from removal absent “cause”

rendered the FHFA’s structure unconstitutional. Id. And they sought

“various forms of equitable relief,” including “an injunction ordering

Treasury to return to Fannie Mae and Freddie Mac all the dividend

payments that were made under the third amendment” and “an order

vacating and setting aside the third amendment.” Id. The Supreme

Court agreed that the agency’s structure violated the separation of

powers under a “straightforward application of [the] reasoning in Seila

Law.” Id. at 1783.

     Turning to the remedy, however, the Court rejected the plaintiffs’

argument that “the third amendment must be completely undone” and

the funds returned. Id. at 1787-88. First, the Court observed that, at the

time of the third amendment’s adoption, the FHFA was led by an Acting

Director, rather than a Senate-confirmed one. Id. It reasoned that,



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because the Acting Director was “removable at will,” there existed no

grounds for “setting aside the third amendment in its entirety.” Id. at

1787. The only wrongful actions that might warrant a remedy, the Court

reasoned, were “the actions that confirmed Directors have taken to

implement the third amendment during their tenures.” Id.

     The Court also declined to set aside the third amendment based on

those actions.   Because “there was no constitutional defect in the

statutorily prescribed method of appointment” for the confirmed

Directors, the Court found “no basis for concluding that any head of the

FHFA lacked the authority to carry out the functions of the office” and

“no reason to regard any of the actions taken by the FHFA in relation to

the third amendment as void.” Id. at 1787-88. “We therefore see no

reason to hold,” the Court explained, “that the third amendment must be

completely undone.” Id. at 1788.

     Nevertheless, the Court refused to find that the shareholders were

not entitled to any relief. Id. at 1788. An unconstitutional removal

provision, the Court reiterated, can “inflict compensable harm” that

would demand a remedy. Id. at 1789. That “possibility . . . c[ould ]not be

ruled out” in Collins. Id. Despite the error-free adoption of the third



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amendment and the properly appointed implementing Directors, the

Court offered two “example” circumstances that would warrant relief in

that case. Id. “Suppose, for example, that the President had attempted

to remove a Director but was prevented from doing so by a lower court

decision holding that he did not have ‘cause’ for removal.” Id. “Or

suppose that the President had made a public statement expressing

displeasure with actions taken by a Director and had asserted that he

would remove the Director if the statute did not stand in the way.” Id.

In either situation, the statutory removal restrictions “would clearly

cause harm.”       Id.   The Court remanded the case to permit the

shareholders to make a similar showing of harm that would warrant

relief. Id.

      b.      Contrary to the district court, Collins did not announce a “new

rule” that “an unconstitutional removal restriction does not invalidate

agency action so long as the agency head was properly appointed.” JA2,

5. While removal is a common thread, Collins is distinguishable from

this case and Seila Law in several respects.

      Principally, the nature of the constitutional injury is different

because Collins was not an enforcement action. If the injury is different,



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the remedy may be as well. The Trusts were targeted specifically and

directly with a “quintessentially executive power.” Seila Law, 140 S. Ct.

at 2200. They are being forced to defend themselves against the CFPB’s

attempt to “seek daunting monetary penalties . . . in federal court.” Id.

In other words, this “wolf comes as a wolf.” Morrison v. Olson, 487 U.S.

654, 699 (1988) (Scalia, J., dissenting).

     The same was not true in Collins. The third amendment did not

“compel” the plaintiff-shareholders to do anything.           They were not

specifically targeted; the third amendment was generalized in its goals

and nationwide in its scope, and the right the shareholders asserted was

one “shared by everyone in this country.” Collins, 141 S. Ct. at 1781.

Moreover, the shareholders did not face “daunting monetary penalties,”

Seila Law, 140 S. Ct. at 2200; they came to court voluntarily as plaintiffs.

Given this state of affairs, the Court’s remand for consideration of

whether the Collins plaintiffs suffered compensable harm does not

undermine the well-settled and well-recognized harm that the Trusts

have suffered here.

     Moreover,     the     adoption     of   the   third   amendment        was

constitutionally sound. As the Court explained, the Acting Director who



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adopted the third amendment was removable at will. See Collins, 141 S.

Ct. at 1787. The Court thus considered only the “subset of actions” that

improperly insulated Directors took “to implement the third amendment

during their tenures.” Id. Where the initiation of agency action caused

no constitutional harm, it would hardly be a proportional and tailored

response to require the action “be completely undone.” Id. at 1788. But,

here, Director Cordray initiated the enforcement action against the

Trusts while he was improperly insulated from removal. Dismissing that

suit (without prejudice) is a well-accepted remedy for that harm.

     Finally, the requested relief in Collins and this case are

meaningfully distinct. While the Trusts seek dismissal only of a single

suit brought directly against them (which the agency failed to ratify in a

timely manner), the Collins plaintiffs sought to reverse billions in

payments made under agreements to which they were not even parties.

The former is a well-established remedy tailored to a recognized

constitutional injury. The latter would be virtually unprecedented.

     Because Collins concerned only the latter, this Court should not

assume it “overturn[ed], or so dramatically limit[ed], earlier authority

sub silentio.” Shalala v. Illinois Council on Long Term Care, Inc., 529



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U.S. 1, 18 (2000); see Collins, 141 S. Ct. at 1799 (Gorsuch, J., concurring

in part and dissenting in part) (“The only lesson I can divine is that the

Court’s opinion today is a product of its unique context [and] nothing it

says undoes our prior guidance authorizing more meaningful relief in

other situations.”).7

            2.    Even if Collins governs this case, dismissal is required.

      a.    Even if Collins did announce, sub silentio, a “new rule”

applicable here, the Trusts are still entitled to dismissal. Emphasizing

that “retrospective relief” remained available, Collins noted the

“possibility that [an] unconstitutional restriction” on removal could

“inflict compensable harm.” 141 S. Ct. at 1789. The Trusts suffered

precisely this sort of “harm” here. Indeed, the Trusts’ experience with

Director Cordray closely resembles those Collins held out as “example[s]”



7 To be sure, the district court is not alone in overreading Collins.   In
CFPB v. CashCall, Inc., the Ninth Circuit held in a similar context that
Collins “made clear that despite the unconstitutional limitation on the
President’s authority to remove the Bureau’s Director, the Director’s
actions were valid when taken.” 35 F. 4th 734, 742 (9th Cir. 2022).
Initiating an enforcement action against the defendant there, the Ninth
Circuit observed, “Director Cordray exercised power that he lawfully
possessed.” Id. at 743. But the Ninth Circuit made the same mistakes
the district court did, conflating the drastic remedy requested in Collins
with a targeted remedy for a direct enforcement action against an
individual defendant.

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meriting relief. Id. “[S]uppose,” the Court offered, “that the President

had made a public statement expressing displeasure with actions taken

by a Director and had asserted that he would remove the Director if the

statute did not stand in the way.” Id. That “would clearly cause harm.”

Id.

      That is what happened here. President Trump’s dissatisfaction

with Director Cordray was no secret, nor was the fact that the agency’s

unique structure was among the forces constraining him. See, e.g., John

Berlau, Why Hasn’t Trump Fired CFPB’s Cordray?, Forbes.com (Aug. 10,

2017) (noting mounting pressure for Trump to fire Cordray, who “has

been empowered by the CFPB’s glaring lack of accountability”); Renae

Merle, Richard Cordray is Stepping Down as Head of Consumer

Financial Protection Bureau, Washington Post (Nov. 15, 2017) (“Trump

has on at least two occasions griped about Cordray in private and

wondered what to do about his tenure, according to two financial industry

executives who attended the meetings. Under the agency’s current

structure, Trump could only fire Cordray for cause.”); Elizabeth

Dexheimer, Trump Said to Weigh Political Risks of Firing CFPB’s

Cordray, Bloomberg (Mar. 10, 2017); Editorial Board, Mr. Trump Goes



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After Consumer Financial Protection Bureau, NYT (Mar. 22, 2017) (“Last

week, however, the administration signaled it wanted to fire Mr.

Cordray.”).

     Such rare public evidence that the CFPA’s unconstitutional

removal restrictions thwarted the President’s ability to supervise the

executive power exercised by the CFPB powerfully confirms that the

subjects of that unaccountable, undemocratic authority suffered

compensable harm. Indeed, where the public record demonstrates that

an executive officer retains their executive position (and thus their

executive authority) only by virtue of an unconstitutional statutory

restriction on their removal, the harm suffered by the objects of that

arrogated power is indistinguishable from the harm suffered under the

authority of executive officers who were not properly appointed in the

first instance. In either case, the officer exercises executive authority

that they possess only by virtue of the unconstitutional provision.

     b.       The district court found an inadequate showing of harm under

Collins on two grounds. Neither has merit.

     First, even accepting Collins applies, the district court applied the

wrong standard. In the court’s view, to show compensable harm under



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Collins, a challenger must “show that the agency action would not have

been taken but for the President’s inability to remove the agency head.”

JA5-6 (citing Collins, 141 S. Ct. at 1788). Nothing in the Collins majority

opinion conditions relief on proving “but for” causation. That standard

was articulated only in Justice Kagan’s concurring opinion for three

Justices. See Collins, 141 S. Ct. at 1801 (Kagan, J., concurring in part

and dissenting in part) (suggesting retrospective relief should be

available “only when the President’s inability to fire an agency head

affected the complained-of decision”); see also RD Legal Funding, 2022

WL 799429, at *6 (recognizing that the standard applied here echoes

Justice Kagan’s concurrence).         Justice Alito’s majority opinion, by

contrast, explained that any time the President was thwarted in his

desire to remove a principal executive officer, “the statutory provision

would clearly cause harm.” Collins, 141 S. Ct. at 1789 (majority op.). The

Collins majority did not require a further showing (nearly impossible)

that the removal provision was directly responsible for the challenged

agency action.

     The district court’s overly restrictive reading of Collins is also

impossible to square with other relevant precedents that the Court



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expressed no intention to disturb. In Seila Law, for example, the Court

rejected the court-appointed amicus’s argument that the law firm lacked

Article III standing to seek the dismissal of the CID unless it could show

the CID would not have been issued “if the responsible official had been

subject to the President’s control.” Seila Law, 140 S. Ct. at 2196. As the

Court explained, “a litigant challenging governmental action as void on

the basis of the separation of powers is not required to prove that the

Government’s course of conduct would have been different in a

‘counterfactual world.’” Id. (emphasis added).

     In Collins, the Court cautioned against overreading Seila Law’s

“holding on standing” to mean that all “actions taken by such an officer

are void ab initio and must be undone.” 141 S. Ct. at 1788 n.24. But the

district court committed the converse error here. If Collins conditions

retrospective relief on the precise showing that Seila Law disavowed,

then the challenger in that case would not have been able to establish

standing to seek the retrospective relief that it did. After all, Article III

requires a litigant to establish, for each requested form of relief, a

“likel[ihood]” that a favorable judicial decision would “redress[]” that

injury. United States v. Juvenile Male, 564 U.S. 932, 936 (2011).



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     Indeed, if such a but-for showing were required to establish

“compensable harm,” it is not clear that litigants could establish standing

to seek (much less, actually obtain) even prospective relief. See Collins,

141 S. Ct. at 1787. Such relief is available only if the “risk of [future]

harm is sufficiently imminent and substantial.” TransUnion LLC v.

Ramirez, 141 S. Ct. 2190, 2210 (2021). It would be a rare litigant who

could show that, but for the presence of a particular executive officer, a

federal agency would not take action against them. And the Court has

similarly never required such a showing to seek or obtain meaningful

prospective relief. See Free Enterprise Fund, 561 U.S. at 513 (finding

that the plaintiffs were “entitled” to prospective relief to ensure they are

subject to enforcement “only by a constitutional agency accountable to

the Executive” without requiring a showing that only an unaccountable

agency would pursue such an action). Even if some sliver of litigants

could make such a showing, remedies for separation-of-powers violations

exist not only to cure violations, “but also ‘to create incentives’” to raise

them. Lucia v. SEC, 138 S. Ct. 2044, 2055 n.5 (2018) (quoting Ryder v.

United States, 515 U.S. 177, 183 (1995)). The district court’s reading of

Collins would have the opposite effect.



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      Second, the district court dismissed the suggestion that the Trusts

suffered harm because subsequent Acting Directors of the agency

continued the action against them. JA6. That “the CFPB did not change

its litigation strategy once the removal protection was eliminated,” the

court noted, “is strong evidence that this suit would have been brought

regardless.” Id. But this elides the critical distinction between initiating

an action and merely continuing one already underway. Simply because

an Acting Director chose not to abandon an action does not mean one

properly accountable to President Trump would have initiated it in the

first instance. Indeed, this logic (were it sound) would foreclose the

possibility of injury in Seila Law as well. That case was also initiated by

Director Cordray but continued through the courts under multiple

Directors, including one who was removable by the President at will. And

yet the CFPB insisted there that remand was necessary, arguing that

“the ratification question . . . must be resolved before granting . . . relief.”

CFPB Reply Br. 23, Seila Law, supra (emphasis added).

      If this Court considers Collins the analytical polestar here,

dismissal is warranted because the Trusts suffered the requisite “harm.”

At the very least, this Court should remand to allow further proceedings



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on this issue before the district court. The Supreme Court decided Collins

two days before briefing on the Trusts’ motion was complete. And though

the district court requested supplemental briefing on two questions,

whether the Trusts suffered “harm” under Collins was not among them.

The Trusts submit that the record, along with judicially noticeable

sources, provides sufficient evidence to prove such harm. If this Court

disagrees, however, a remand will allow the Trusts an opportunity to

present such evidence below—an opportunity unavailable to them until

now.




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                             CONCLUSION

     For the foregoing reasons, the district court’s order should be

reversed and the case remanded with instructions to dismiss the

complaint.

Dated: September 23, 2022                 Respectfully submitted,

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                                             /s/ Jonathan Y. Ellis
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                          CERTIFICATE OF SERVICE

     I hereby certify that on September 23, 2022, the foregoing was filed

with the Clerk of the United States Court of Appeals for the Third Circuit

using the appellate CM/ECF system, which will also serve counsel of

record.

                                               /s/ Jonathan Y. Ellis
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                              No. 22-1864
                                     In the


United States Court of Appeals
                  For the Third Circuit
                            _______________

               Consumer Financial Protection Bureau,
                                         Plaintiff-Appellee,
                                v.

        National Collegiate Master Student Loan Trust, et al.,
                                           Defendants-Appellants.
                           _______________

           On Appeal from the United States District Court
          for the District of Delaware, Case No. 1:17-cv-1323
                      Honorable Stephanos Bibas
                             _______________

            JOINT APPENDIX – VOLUME I (pp. 1-25)
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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF DELAWARE


 CONSUMER FINANCIAL
 PROTECTION BUREAU,

                    Plaintiff,

             v.
                                                  No. 1:17-cv-1323-SB
 NATIONAL COLLEGIATE MASTER
 STUDENT LOAN TRUST et al.

                    Defendants.


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                                 MEMORANDUM OPINION

December 13, 2021




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BIBAS, Circuit Judge, sitting by designation.

   Sometimes litigation is a moving target. Legal rules can change while the parties

are battling it out. Earlier this year, the National Collegiate Student Loan Trusts

successfully argued that the Consumer Financial Protection Bureau’s suit against

them was untimely. This Court dismissed the case without prejudice, relying on then-

prevailing precedent. But then the Supreme Court announced a new rule. And the

CFPB renewed its suit. Applying the new rule, at least on the complaint before me,

this case is timely.

   Plus, the Trusts say the CFPB lacks authority to sue them because they are not

“covered persons” under the Consumer Financial Protection Act. But they “engaged

in” servicing loans and collecting debt through their contractors, so they fall within

the statute. I must thus let the CFPB’s case proceed.

                                   I. BACKGROUND

   In 2017, the CFPB sued the Trusts for engaging in forbidden debt-collection and

litigation practices. First Am. Compl., D.I. 362 ¶¶ 1–2. Now the Trusts move to dis-

miss. Understanding that motion requires us to take a whistle-stop tour through both

this protracted enforcement action and the structure of the CFPB.

   A. The Trusts and the CFPB’s enforcement

   The Trusts were set up to securitize student loans. They bought a pool of 800,000

private loans, then sold notes secured by that pool to investors. Id. ¶¶ 27, 34. As stu-

dents repaid their loans, the investors would take a cut. D.I. 54, at 4. Just like any

other securitization, the value of the notes depended on the riskiness of the



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underlying asset: the more students default on their loan payments, the less valuable

the notes.

   Thus, the Trusts have a powerful incentive to ensure that students do not miss

loan payments. Since the Trusts have no employees, they collect debt and service the

loans through third parties. First Am. Compl. ¶ 29.

   To that end, in 2009 the Trusts contracted with a special servicer to collect “past-

due and defaulted student loans” and to do “collections litigation.” D.I. 54, at 5. The

special servicer, in turn, entered into agreements with “subservicers,” who would

“conduct[ ] collections” and “oversee[ ] various law firms that [would] file collection

lawsuits against borrowers in the name of the Trusts.” Id.; see First Am. Compl.

¶¶ 38–44.

   But the subservicers soon attracted the attention of the CFPB. After a lengthy

investigation, it found that the subservicers had “executed and notarized deceptive

affidavits” and “filed … collections lawsuits lacking” key evidence. First Am. Compl.

¶¶ 49–50. The CFPB concluded that they engaged in unfair and deceptive debt-col-

lection practices. D.I. 54, at 1–2.

   So in 2014, the CFPB started administrative proceedings against the Trusts.

Though the parties reached a settlement and asked the Court to enter a consent de-

cree, the Court declined. D.I. 272. That forced the CFPB to sue.

   B. The structure of the CFPB and the Trusts’ first motion to dismiss

   But midway through this litigation, the Supreme Court injected a new issue. Since

its creation in 2008, the CFPB had been headed by a single director, insulated from

removal by the President. Yet the Court said that structure “violate[d] the separation
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of powers.” Seila Law LLC v. Consumer Fin. Prot. Bureau, 140 S. Ct. 2183, 2197, 2209

(2020). So it severed the removal restriction, leaving the rest of the statute intact.

   That ruling implicated this enforcement action, which the CFPB filed in 2017

while headed by an improperly insulated director. Aware that such a director may

have lacked the power to bring an enforcement action, a new director (now removable

at will by the President) ratified the suit to cure any defect. D.I. 308-1.

   But earlier this year, Judge Noreika ruled that the ratification came too late to

save this suit. D.I. 359, at 8–14. All CFPB enforcement actions must be brought

within three years of the date on which it discovers the violation. 12 U.S.C.

§ 5564(g)(1). Yet here, the CFPB admitted that “ratification … came more than three

years after the date of discovery.” D.I. 356, at 40:20−21. Plus, it could not show that

the statute-of-limitations clock was extended by equitable tolling. So Judge Noreika

dismissed the suit without prejudice, giving the CFPB another chance to explain why

its suit was timely. D.I. 360.

   After that ruling, the CFPB amended its complaint. And the Trusts brought this

motion to dismiss, arguing that the new complaint suffered from the same timeliness

defect as the first one. D.I. 367, at 7–11. They also contend that the Trusts do not

count as “covered person[s]” under the Act and so cannot be targets of CFPB enforce-

ment. Id. at 11; 12 U.S.C. § 5481(6).

   To survive a motion to dismiss, a complaint must contain enough facts to “state a

claim to relief that is plausible on its face.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009)

(quoting Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007)). I must accept all



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allegations in the complaint as true and draw all inferences in favor of the nonmoving

party. Foglia v. Renal Ventures Mgmt., LLC, 754 F.3d 153, 154 n.1 (3d Cir. 2014).

                       II. THIS SUIT IS NOT YET TIME BARRED

   The Trusts say the CFPB failed to ratify this suit before the statute-of-limitations

clock ran out. But this assumes that unconstitutional removal protections automati-

cally void agency action. And earlier this year, the Supreme Court rejected that prem-

ise. Thus, the CFPB stopped the clock when it sued. So on the compliant now before

me, the suit is timely filed.

   A. There was no need for the CFPB to ratify this suit

   The CFPB brought this suit while it was unconstitutionally structured. Back then,

courts saw actions brought by improperly structured agencies as “ultra vires” and so

void. Collins v. Yellen, 141 S. Ct. 1761, 1795 (2021) (Gorsuch, J., concurring in part).

And void actions cannot stop the statute-of-limitations clock. Thus, to save the suit,

an agency had to cure the constitutional defect, then ratify the action before the clock

ran out. Here, ratification happened too late. So Judge Noreika dismissed this law-

suit.

   Yet earlier this year, the Supreme Court undercut that reasoning. Id. at 1788

(majority opinion). It held that an unconstitutional removal restriction does not in-

validate agency action so long as the agency head was properly appointed. Such an

agency head has “authority to carry out the functions of the office.” Id. So the agency’s

actions are not “void” and do not need to be “ratified,” unless a plaintiff can show that

the removal provision harmed him. Id. Put differently, he must show that the agency



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action would not have been taken but for the President’s inability to remove the

agency head. Id.

   That is not the case here. This suit would have been filed even if the director had

been under presidential control. It has been litigated by five directors of the CFPB,

four of whom were removable at will by the President. D.I. 377, at 2. And the CFPB

did not change its litigation strategy once the removal protection was eliminated.

This is strong evidence that this suit would have been brought regardless. Thus, the

CFPB’s initial decision to bring this suit was not ultra vires.

   B. At this stage, I may not decide whether this suit is time barred

   Because the decision to bring this suit was a valid agency action, it is not untimely

if it was filed within three years of the date on which the CFPB discovered the alleged

violation. 12 U.S.C. § 5564(g)(1).

   The Trusts argue that even under this test, the suit is time barred. The CFPB

sued on September 18, 2017. Yet the Trusts say, the CFPB had discovered the alleged

misconduct by September 4, 2014, when it issued a civil investigative demand asking

the Trusts for information about possible violations. D.I. 367, at 19. If true, this suit

is time barred.

   But the Trusts’ argument is premature. On this motion to dismiss, I may consider

a statute-of-limitations defense only if “the face of the complaint demonstrates that

the plaintiff’s claims are untimely.” Stephens v. Clash, 796 F.3d 281, 288 (3d Cir.

2015) (internal quotation marks omitted). Otherwise, the defendant would be forced

to state facts necessary to anticipate and overcome an affirmative defense. Id.



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   Yet the Trusts fall afoul of this rule by relying on a civil-investigative-demand

letter outside the complaint. See D.I. 302-3. Because I may not consider that letter,

the Trusts’ argument fails. Even if I could look at the letter, it does not unambigu-

ously show that the CFPB knew about the alleged violations by September 4, 2014.

The letter states that its purpose is to “determine whether [the Trusts] … engaged

[in] … unlawful acts.” Id. at 4. Such an investigation would have been pointless if the

agency already knew about the Trusts’ alleged misconduct.

   The Trusts may still try to make out a statute-of-limitations defense, but that will

have to wait until summary judgment.

  III. THE TRUSTS ARE “COVERED PERSONS” UNDER THE CONSUMER FINANCIAL
                             PROTECTION ACT

   The Trusts argue that the CFPB cannot bring an enforcement action against them

because they are not “covered persons” as required under the Act. But this theory is

undercut by the statute’s text: the Trusts “engage in” servicing and collecting debt.

   Start with the text. The CFPB may bring enforcement actions to “prevent a cov-

ered person or service provider from committing or engaging in an unfair, deceptive,

or abusive act or practice.” 12 U.S.C. § 5531(a). Thus, it may sue only a “covered per-

son” or a “service provider.” The CFPB does not argue that the Trusts are “service

provider[s].” See First Am. Compl. ¶ 8. So this suit may only proceed if they are “cov-

ered person[s]”: “person[s] that engage[ ] in offering or providing a consumer financial

product or service.” 12 U.S.C. § 5481(6).

   The CFPB argues that the Trusts qualify because they “engage[ ] in” providing

some of the “financial product[s] or service[s]” listed in the Act: “servicing loans,

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including acquiring, purchasing, selling, brokering, or other extensions of credit” and

“collecting debt.” Id. § 5481(6), (15)(A)(i), (x); First Am. Compl. ¶ 8. More precisely, it

claims that the Trusts “engage in regular servicing of … loans” and “debt-collection

activities through … [its] subservicers.” Id. ¶¶ 35−36.

   The Trusts do not deny that their subservicers collected debt or serviced loans.

Instead, they contend that the CFPB cannot hold them liable for those actions. D.I.

367, at 13. The Trusts characterize themselves as “passive securitization vehicles …

[that] take no action related to the servicing of student loans or collecting debt.” Id.

at 12.

   So this dispute boils down to the breadth of the word “engage.” Does a person

“engage” in an activity if he contracts with a third party to do that activity on his

behalf? Yes.

   “Engage” means to “to embark in any business” or to “enter upon or employ oneself

in an action.” Engage (def. 16), Oxford English Dictionary (2d ed. 2000); see also En-

gage, Black’s Law Dictionary (11th ed. 2019) (“To employ or involve oneself; to take

part in; to embark on.”).

   That definition is broad enough to encompass actions taken on a person’s behalf

by another, at least where that action is central to his enterprise. Thus, if a dairy

farmer contracts with a farmhand to milk his cows and never does that job himself,

he is still employed in or in the business of milking cows.

   So too here. The Trusts “embark[ed] in [the] business” of collecting debt and ser-

vicing loans when they contracted with the servicers and subservicers to collect their



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debt and service their loans. Indeed, the CFPB alleges that the unfair and deceptive

debt-collection practices happened in lawsuits brought on behalf of the Trusts, with

the “relevant Trust … named [as the] plaintiff in the action.” First Am. Compl. ¶ 37.

Those suits could have proceeded only with the Trusts’ involvement: with narrow ex-

ceptions, “a party … must assert his own legal rights and interests.” Kowalski v. Tes-

mer, 543 U.S. 125, 129 (2004) (internal quotation marks omitted). The subservicers

could not have collected any debt without the Trusts’ say-so.

   True, the subservicers were independent contractors and not Trust employees.

D.I. 302-1 § 17. But that is not dispositive. Debt collection and loan servicing are core

aspects of the Trusts’ business model. If they did not enforce debtors’ obligations,

their pool of loans would be less valuable, as would the notes they sell to investors.

The Trusts cannot claim that they were not “engaged in” a key part of their business

just because they contracted it out. Cf. Barbato v. Greystone All., LLC, 916 F.3d 260,

266−68 (3d Cir. 2019) (finding that a “passive debt owner” counted as a “debt collec-

tor” under the Fair Debt Collection Practices Act when it contracted with a third

party to collect debt on its behalf).

   Plus, if Congress wanted to allow enforcement against only those who directly en-

gage in offering or providing consumer financial services, it could have said so. See,

e.g., 12 U.S.C. § 5481(15)(A)(vii)(I) (exempting some merchants from “covered person”

status where they deal in “nonfinancial good[s] or service[s] sold directly … to the

consumer”).




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    Pushing back, the Trusts note that the Act expressly enumerates when a “related

 person” may be sued based on his relationship to a covered person. D.I. 367, at 14

 (citing 12 U.S.C. § 5481(25)). That provision, they reason, displaces common-law vi-

 carious liability. Maybe so. But because the Trusts themselves count as covered per-

 sons, I need not decide whether a non-covered-person principal can ever be held vi-

 cariously liable for the acts of his covered-person agent.

                                         * * * * *

    The Trusts argue that the CFPB was powerless to file this suit and that it filed

 too late. But both arguments fail. On the complaint now before me, this suit was

 timely filed. And the CFPB may sue the Trusts because they are “covered persons”

 under the Consumer Financial Protection Act. Thus, this enforcement action may

 proceed.




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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF DELAWARE


CONSUMER FINANCIAL
PROTECTION BUREAU,

                     Plaintiff,

            v.
                                                  No. 1:17-cv-1323-SB
NATIONAL COLLEGIATE MASTER
STUDENT LOAN TRUST et al.

                     Defendants.


Colin  T.   Reardon,     Gabriel  S.H.  Hopkins,  Jane   M.E.   Peterson,
Stephen C. Jacques, Tiffany Hardy, CONSUMER FINANCIAL PROTECTION BUREAU,
Washington, D.C.

                                                          Counsel for Plaintiff.

Megan Ix Brison, Michael A. Weidinger, PINCKNEY, WEIDINGER, URBAN & JOYCE
LLC, Wilmington, DE.

                                                        Counsel for Defendants.



                                  MEMORANDUM OPINION

February 11, 2022




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BIBAS, Circuit Judge, sitting by designation.

   Ordinarily, parties cannot appeal until a district court enters a final judgment.

But if their case raises important and dispositive legal issues, they may seek permis-

sion to appeal early. This enforcement action falls into that rare category.

   The parties’ dispute raises two novel questions: What is the scope of the Consumer

Financial Protection Bureau’s enforcement authority? And is ratification required if

a federal agency files suit while it is unconstitutionally structured? I answered both

questions in denying a motion to dismiss, finding that the Bureau had authority to

bring this suit and that it did not need to ratify. But the stakes are high—if I am

wrong about either issue, this litigation must end now. So I certify both questions for

interlocutory appeal.

                                    I. BACKGROUND

   In 2017, the Bureau sued the National Collegiate Loan Trusts for engaging in

forbidden debt-collection and litigation practices. D.I. 362 ¶¶ 1–2. Late last year, I

denied the Trusts’ motion to dismiss that enforcement action. Mem. Op., D.I. 380.

   Back then, the Trusts argued that the Bureau lacked authority to sue them under

the Consumer Financial Protection Act. And even if it had that authority, the Trusts

claimed, the suit was untimely: the Bureau had filed its complaint while it was un-

constitutionally structured, so it needed to ratify the suit after it was restructured

and before the statute-of-limitations clock ran out. Yet it failed to do so. See D.I. 367.

   I rejected those arguments. But now the Trusts ask me to certify both issues to

the Third Circuit for an interlocutory appeal. Certification is appropriate only if “ex-

ceptional circumstances justify a departure from the basic policy of postponing
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appellate review until after entry of a final judgment.” Coopers & Lybrand v. Livesay,

437 U.S. 463, 475 (1978). Thus, I may not grant the Trusts’ request unless they meet

three requirements:

       •   they seek to appeal from an order that “involves a controlling question of

           law”

       •   about which there is “substantial ground for difference of opinion,” and

       •   their appeal would “advance the ultimate termination of the litigation.”

28 U.S.C. § 1292(b). “The burden is on the [Trusts] to demonstrate that all three

requirements are met.” Litgo N.J., Inc. v. Martin, 2011 WL 1134676, at *2 (D.N.J.

Mar. 25, 2011).

   That is a high bar. But the Trusts meet it, so I certify two questions to the Third

Circuit for an interlocutory appeal.

                      II. I CERTIFY THE STATUTORY QUESTION

   The first question that the Trusts ask me to certify is whether they are “covered

persons” subject to the Bureau’s enforcement authority. D.I. 384, at 16. In other

words, were they “engage[d] in offering or providing … consumer financial product[s]

or service[s],” including “servicing loans” and “collecting debt”? 12 U.S.C. § 5481(6),

(15)(A)(i), (x).

   In denying the Trusts’ motion to dismiss, I found that they were. Mem. Op., D.I.

380, at 7−10. The Trusts own a large tranche of student debt. And to collect that debt,

they “engaged in” loan servicing and debt collection through third-party servicers.

True, third parties, not the Trusts, collected the debt and serviced the loans. But the



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loan servicing and debt collection were crucial to the Trusts’ business and could not

have happened without their say-so. Id. at 8–9. And the statutory language is “broad

enough to encompass actions taken on a person’s behalf by another, at least where

that action is central to his enterprise.” Id. at 8.

   But there is room for reasonable disagreement. Plus, a contrary reading of the

statute would change the outcome of this lawsuit. So I find that the § 1292(b) factors

favor certifying the issue for an interlocutory appeal.

   1. Controlling question of law. “[C]ontrolling question[s] of law” are important to

the case and include those issues that “if erroneous, would be reversible error on final

appeal.” Katz v. Carte Blanche Corp., 496 F.2d 747, 755 (3d Cir. 1974). Here, the

statutory-interpretation question is key: It determines whether this lawsuit may pro-

ceed against the Trusts. If the Trusts did not “engage in” collecting debt or servicing

loans, the Bureau cannot sue them.

   2. Substantial ground for difference of opinion. There is “substantial ground” for a

difference of opinion if there is “genuine doubt … as to the correct legal standard.”

N.J. Dep’t of Treasury v. Fuld, 2009 WL 2905432, at *2 (D.N.J. Sept. 8, 2009). That

doubt may be caused by “the absence of controlling law on a particular issue,” includ-

ing where there are “statutory interpretation” questions that are “novel and complex.”

Id. (quotation marks omitted).

   Here, the statutory-interpretation question is “novel” and there is no controlling

precedent. I was the first judge to decide whether the Bureau may bring enforcement

actions against creditors like the Trusts who contract out debt collection and loan



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servicing. And earlier in this litigation, before the case was assigned to me, Judge

Noreika expressed “some doubt” that the Trusts are covered persons “under the plain

language of the statute.” D.I. 359, at 6.

   3. Advancing termination of the litigation. An appeal “materially advance[s]” the

litigation if it would “eliminate the need for a trial.” Orson, Inc. v. Miramax Film

Corp., 867 F. Supp. 319, 322 (E.D. Pa. 1994). That is so here. If the Third Circuit

reverses on appeal and the Supreme Court does not intervene, this suit would stop

there.

                III. I ALSO CERTIFY THE CONSTITUTIONAL QUESTION

   The Trusts ask me to certify a second question: whether the Bureau needed to

ratify this suit before the statute of limitations ran out, having first filed it while the

agency director was improperly insulated from presidential removal.

   In denying the Trust’s motion to dismiss, I held that there was no need for the

Bureau to ratify its suit. D.I. 380, at 5. Though the suit was filed while the agency’s

director was unconstitutionally insulated, that did not mean the filing was invalid.

   My holding relied on the Supreme Court’s recent decision in Collins v. Yellen, 141

S. Ct. 1761 (2021). There, the Court held that an unconstitutional removal restriction

does not invalidate agency action so long as the agency head was properly appointed.

Id. at 1787. And if agency action is valid, it need not need be ratified. Id. at 1788.

Thus, because the Bureau’s director was properly appointed, its filing of this suit was

enough to stop the limitations clock. See Mem. Op., D.I. 380, at 5 (applying Collins to

this case in more detail).



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   Still, Collins is a very recent Supreme Court decision and lower courts have not

yet hashed out its scope. If my reading is mistaken, I must dismiss this suit as un-

timely. Thus, the § 1292(b) factors support certifying the question for interlocutory

appeal.

   1. Controlling question of law. Reading Collins correctly is important to this case.

Katz, 496 F.2d at 755. If I am wrong and the Bureau’s initial filing of this suit was

invalid, then it did not sue the Trusts before the statute of limitations ran out. See

Mem. Op., D.I. 359, at 10−14 (holding that any ratification came too late to save this

suit). That would make the Bureau’s suit untimely, ending this case.

   2. Substantial ground for difference of opinion. Plus, one can reasonably disagree

about the scope of Collins. That case clarified the law. Before it was decided, courts

saw actions brought by improperly insulated agency heads as “ultra vires” and so

void. 141 S. Ct. at 1795 (Gorsuch, J., concurring in part). To give those actions legal

force, agencies had to ratify them. See, e.g., CFPB v. Navient Corp., 522 F. Supp. 3d

107, 111 (M.D. Pa. 2021) (requiring ratification for a suit to proceed because the Bu-

reau had filed it while the agency was unconstitutionally structured). But Collins

rejected that prevailing view. The Court explained that actions taken by an improp-

erly insulated director are not “void” and do not need to be “ratified” unless a plaintiff

can show that the removal provision harmed him. 141 S. Ct. at 1787–88.

   The Trusts read Collins more narrowly. They say it is distinguishable because

there the agency action was initiated “by an acting director” who was removable at

will by the President; only later was it implemented by his improperly insulated



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successors. D.I. 384, at 12. By contrast, this case was “marred by a constitutional

defect from its inception.” Id. Because Collins is distinguishable, they claim that the

Supreme Court’s decision in Seila Law should apply instead. Id. at 10 (citing Seila

Law LLC v. CFPB, 140 S. Ct. 2183, 2220 (2020)). And that case, they contend, de-

mands ratification.

   Yet the Trust’s argument fails to persuade. True, in Collins the agency action was

initiated by a constitutionally structured agency. 141 S. Ct. at 1787. But there, the

harm caused by the agency action “continued … [under] a succession of [improperly

insulated] Directors.” So the Court considered whether their subsequent acts, imple-

menting the initial action, should be set aside. And because all the directors “were

properly appointed” it concluded there was “no reason to regard any [of their] actions

… as void.” So too here: all of the Bureau’s directors were correctly appointed.

   In any case, Collins was clear that Seila Law does not always demand ratification

where an agency director is insulated from presidential removal. Id. (clarifying that

the Court said “no such thing” in that case).

   Still, one can reasonably disagree about the scope of Collins. Justice Gorsuch’s

concurrence said as much, noting that the Court’s opinion raised an “important ques-

tion” about how lower courts should resolve “the next” agency-insulation suit. Id. at

1799 (flagging that the Court’s ruling may be a “product of its unique context”).

   Plus, the need for ratification after Collins is an issue in ongoing appeals across

the country. See Appellant’s Supp. Letter Br., CFPB v. All Am. Check Cashing, Inc.,

No. 18-60302, (5th Cir. Dec. 17, 2021) (en banc) (“Collins … held that a party



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demonstrates remediable injury whenever ‘the President might have replaced the Di-

rector absent the removal restriction.’ ”); Appellant’s Reply Br., Integrity Advance,

LLC v. CFPB, No. 21-9521 (10th Cir. Sept. 3, 2021) (relying on Justice Gorsuch’s

Collins concurrence to limit the decision’s scope). That litigation suggests that there

is room for reasonable disagreement and thus supports an interlocutory appeal here.

   3. Advancing termination of the litigation. Finally, certifying an appeal would ma-

terially advance this case by potentially “eliminat[ing] the need for a trial.” Orson,

Inc., 867 F. Supp. at 322. If the Third Circuit disagrees with my reading of Collins, I

must dismiss this suit as untimely, ending this case.

                       IV. I STAY THIS CASE PENDING APPEAL

   Having certified an appeal to the Third Circuit, I may stay this case pending that

appeal. 28 U.S.C. § 1292(b). That discretion is part of my “inherent” authority to man-

age my docket to preserve “time and effort for [myself], for counsel, and for litigants.”

Landis v. N. Am. Co., 299 U.S. 248, 254−55 (1936).

   Here, I exercise that discretion and stay this case. A stay ensures that the parties

will not waste their resources on discovery. Plus, it guards against government over-

reach: If the Trusts are right that the Bureau lacks authority to bring this enforce-

ment action, it may not bring the judicial process to bear on them. That protection

would be undercut if the Bureau could subject the Trusts to months of discovery while

their appeal is pending.

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                                       JA18
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   This case raises two novel, important, and dispositive issues. So I certify both for

interlocutory appeal to the Third Circuit. And to avoid needless expense in the mean-

time, I stay this case.




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                                      JA19
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                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF DELAWARE


CONSUMER FINANCIAL
PROTECTION BUREAU,

                     Plaintiff,

              v.
                                                        No. 1:17-cv-1323-SB
NATIONAL COLLEGIATE MASTER
STUDENT LOAN TRUST et al.

                     Defendants.



                                        ORDER

1. I GRANT Defendants’ Motion to Certify an Interlocutory Appeal [D.I. 383]. I thus
   certify the following two questions to the United States Court of Appeals for the
   Third Circuit:

      •   Under the Consumer Financial Protection Act, are the defendant Trusts
          “covered persons” subject to the Consumer Financial Protection Bureau’s
          enforcement authority?

      •   After Collins v. Yellen, 141 S. Ct. 1761 (2021), did the Bureau need to ratify
          this suit before the statute of limitations ran out, having first filed it while
          the Bureau’s director was improperly insulated from presidential removal?

2. I STAY this case pending the Defendants’ interlocutory appeal to the Third Circuit.



Dated: February 11, 2022                 ____________________________________
                                          UNITED STATES CIRCUIT JUDGE




                                       JA20
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       UNITED STATES COURT OF APPEALS FOR THE THIRD CIRCUIT

                                                            ACO-051

                                 No. 22-8010

               CONSUMER FINANCIAL PROTECTION BUREAU

                                      v.

  NATIONAL COLLEGIATE MASTER STUDENT LOAN TRUST; NATIONAL
  COLLEGIATE STUDENT LOAN TRUST 2003-1; NATIONAL COLLEGIATE
 STUDENT LOAN TRUST 2004-1; NATIONAL COLLEGIATE STUDENT LOAN
  TRUST 2004-2; NATIONAL COLLEGIATE STUDENT LOAN TRUST 2005-1;
   NATIONAL COLLEGIATE STUDENT LOAN TRUST 2005-2; NATIONAL
  COLLEGIATE STUDENT LOAN TRUST 2005-3; NATIONAL COLLEGIATE
 STUDENT LOAN TRUST 2006-1; NATIONAL COLLEGIATE STUDENT LOAN
  TRUST 2006-2; NATIONAL COLLEGIATE STUDENT LOAN TRUST 2006-3;
   NATIONAL COLLEGIATE STUDENT LOAN TRUST 2006-4; NATIONAL
  COLLEGIATE STUDENT LOAN TRUST 2007-1; NATIONAL COLLEGIATE
 STUDENT LOAN TRUST 2007-2; NATIONAL COLLEGIATE STUDENT LOAN
  TRUST 2007-3; NATIONAL COLLEGIATE STUDENT LOAN TRUST 2007-4,
                       Delaware Statutory Trusts

  NATIONAL COLLEGIATE MASTER STUDENT LOAN TRUST; NATIONAL
  COLLEGIATE STUDENT LOAN TRUST 2003-1; NATIONAL COLLEGIATE
 STUDENT LOAN TRUST 2004-1; NATIONAL COLLEGIATE STUDENT LOAN
  TRUST 2004-2; NATIONAL COLLEGIATE STUDENT LOAN TRUST 2005-1;
   NATIONAL COLLEGIATE STUDENT LOAN TRUST 2005-2; NATIONAL
  COLLEGIATE STUDENT LOAN TRUST 2005-3; NATIONAL COLLEGIATE
 STUDENT LOAN TRUST 2006-1; NATIONAL COLLEGIATE STUDENT LOAN
  TRUST 2006-2; NATIONAL COLLEGIATE STUDENT LOAN TRUST 2006-3;
   NATIONAL COLLEGIATE STUDENT LOAN TRUST 2006-4; NATIONAL
  COLLEGIATE STUDENT LOAN TRUST 2007-1; NATIONAL COLLEGIATE
 STUDENT LOAN TRUST 2007-2; NATIONAL COLLEGIATE STUDENT LOAN
           TRUST 2007-3; NATIONAL COLLEGIATE STUDENT
       LOAN TRUST 2007-4; AMBAC ASSURANCE CORPORATION;
                    TRANSWORLD SYSTEMS INC.,
                                       Petitioners


                          (D. Del. No. 1-17-cv-01323)




                                  JA21
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Present: KRAUSE, RESTREPO, and SMITH, Circuit Judges

      1. Petition for Permission to Appeal under 28 U.S.C. Section 1292(b) by
         Intervenor Petitioners Ambac Assurance Corp, Transworld Systems Inc and
         Petitioner National Collegiate Master Student Loan Trust;

      2. Response by Respondent Consumer Financial Protection Bureau to
         original proceeding Petition 1292(b);

      3. Response by Intervenor Respondent US Bank NA to original
         proceeding Petition 1292(b).


                                                   Respectfully,
                                                   Clerk/kr

_________________________________ORDER________________________________
The foregoing Petition is granted.


                                                   By the Court,

                                                   s/ Cheryl Ann Krause
                                                   Circuit Judge

Dated: April 29, 2022

kr/cc: All Counsel of Record
                                                            A True Copy:



                                                           Patricia S. Dodszuweit, Clerk




                                    JA22
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     UNITED STATES COURT OF APPEALS FOR THE THIRD CIRCUIT

                                            NOTICE

               GRANT OF PERMISSION FOR LEAVE TO APPEAL

The Court of Appeals has granted a petition for leave to appeal in this matter.

The $505.00 docketing and filing fee must be paid in the district court within 14 days after the
entry of the order granting permission for leave to appeal, unless the petitioner is the United
States government. Fed. R. App. P. 5. In addition, a cost bond must be filed if one is required
under Fed. R. App. P. 7.

A notice of appeal does not need to be filed as a copy of the Court's order granting permission
for leave to appeal which has been forwarded to the district court will serve as the notice of
appeal.

The entry date of the order granting permission to appeal serves as the date of the filing of the
notice of appeal for calculating time under the Federal Rules of Appellate Procedure. Petitioner
should notify the Court of Appeals in writing that the filing fee has been paid.

Upon receipt of the notice from petitioner, the appeal will be opened on the general docket. All
future filings regarding the appeal will be entered under the new docket number.

Very truly yours,
s/ Patricia S. Dodszuweit
 Clerk

By: s/Kirsi
Case Manager
267-299-4911

cc: All Counsel of Record




                                            JA23
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       UNITED STATES COURT OF APPEALS FOR THE THIRD CIRCUIT

                                                            ACO-051

                                 No. 22-8010

               CONSUMER FINANCIAL PROTECTION BUREAU

                                      v.

  NATIONAL COLLEGIATE MASTER STUDENT LOAN TRUST; NATIONAL
  COLLEGIATE STUDENT LOAN TRUST 2003-1; NATIONAL COLLEGIATE
 STUDENT LOAN TRUST 2004-1; NATIONAL COLLEGIATE STUDENT LOAN
  TRUST 2004-2; NATIONAL COLLEGIATE STUDENT LOAN TRUST 2005-1;
   NATIONAL COLLEGIATE STUDENT LOAN TRUST 2005-2; NATIONAL
  COLLEGIATE STUDENT LOAN TRUST 2005-3; NATIONAL COLLEGIATE
 STUDENT LOAN TRUST 2006-1; NATIONAL COLLEGIATE STUDENT LOAN
  TRUST 2006-2; NATIONAL COLLEGIATE STUDENT LOAN TRUST 2006-3;
   NATIONAL COLLEGIATE STUDENT LOAN TRUST 2006-4; NATIONAL
  COLLEGIATE STUDENT LOAN TRUST 2007-1; NATIONAL COLLEGIATE
 STUDENT LOAN TRUST 2007-2; NATIONAL COLLEGIATE STUDENT LOAN
  TRUST 2007-3; NATIONAL COLLEGIATE STUDENT LOAN TRUST 2007-4,
                       Delaware Statutory Trusts

  NATIONAL COLLEGIATE MASTER STUDENT LOAN TRUST; NATIONAL
  COLLEGIATE STUDENT LOAN TRUST 2003-1; NATIONAL COLLEGIATE
 STUDENT LOAN TRUST 2004-1; NATIONAL COLLEGIATE STUDENT LOAN
  TRUST 2004-2; NATIONAL COLLEGIATE STUDENT LOAN TRUST 2005-1;
   NATIONAL COLLEGIATE STUDENT LOAN TRUST 2005-2; NATIONAL
  COLLEGIATE STUDENT LOAN TRUST 2005-3; NATIONAL COLLEGIATE
 STUDENT LOAN TRUST 2006-1; NATIONAL COLLEGIATE STUDENT LOAN
  TRUST 2006-2; NATIONAL COLLEGIATE STUDENT LOAN TRUST 2006-3;
   NATIONAL COLLEGIATE STUDENT LOAN TRUST 2006-4; NATIONAL
  COLLEGIATE STUDENT LOAN TRUST 2007-1; NATIONAL COLLEGIATE
 STUDENT LOAN TRUST 2007-2; NATIONAL COLLEGIATE STUDENT LOAN
           TRUST 2007-3; NATIONAL COLLEGIATE STUDENT
       LOAN TRUST 2007-4; AMBAC ASSURANCE CORPORATION;
                    TRANSWORLD SYSTEMS INC.,
                                       Petitioners


                          (D. Del. No. 1-17-cv-01323)




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Present: KRAUSE, RESTREPO, and SMITH, Circuit Judges

      1. Petition for Permission to Appeal under 28 U.S.C. Section 1292(b) by
         Intervenor Petitioners Ambac Assurance Corp, Transworld Systems Inc and
         Petitioner National Collegiate Master Student Loan Trust;

      2. Response by Respondent Consumer Financial Protection Bureau to
         original proceeding Petition 1292(b);

      3. Response by Intervenor Respondent US Bank NA to original
         proceeding Petition 1292(b).


                                                   Respectfully,
                                                   Clerk/kr

_________________________________ORDER________________________________
The foregoing Petition is granted.


                                                   By the Court,

                                                   s/ Cheryl Ann Krause
                                                   Circuit Judge

Dated: April 29, 2022

kr/cc: All Counsel of Record
                                                            A True Copy:



                                                           Patricia S. Dodszuweit, Clerk




                                    JA25
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                      CERTIFICATE OF SERVICE

     I hereby certify that, on September 23, 2022, the foregoing was filed

with the Clerk of the United States Court of Appeals for the Third Circuit

using the appellate CM/ECF system, which will also serve counsel of

record.


                                     /s/ Jonathan Y. Ellis
                                     Jonathan Y. Ellis
